                      Case 13-06250-LT11                            Filed 06/16/13              Entered 06/16/13 23:45:59                      Doc 1              Pg. 1 of 36
B 1 ( O tI rcir a l l o r m l ) ( U 4 l
                                                 UNITED STATESBANKRUPTCYCOURT

                                                 SouthernDistrict of California
                               individuar,
                                       enter
                                           Last,First,Middle):                                            Nameof JointDebtor(Spouse) (Last,First,Middle):
  )pir:::ttji'Jif                                                                                         Zouvas. Leena
  All OtherNamesusedby theDebtorin thelast8 years                                                         All OtherNamesusedby the JointDebtorin the last 8 years
  (includemarried,maiden,andtradenames):                                                                  (includemarried,maiden,andtradenames):

  nla                                                                                                     f.k.a. Leena Spahr
                                              I D (ITIN)/Complete
  Lastfourdigitsof Soc Sec or Individual-Taxpayer              EIN                                                                                     I D. (ITIN)/Complete
                                                                                                          Lastfourdigitsof Soc Sec or Individual-Taxpayer                EIN
  (if morethanone,stateall):                                                                              (if morethanone,stateall):
  XXX-XX-961  8                                                                                            XXX-XX-1 555
  StreetAddressof Debtor(No andStreet,City,andState):                                                     StreetAddressof JointDebtor(No andStreet,City, andState):
       977Windflower
                   Way                                                                                     977Windflower
                                                                                                                       Way
       SanDiego,CA                                                                                         SanDiego,CA
                                                                          mDE               e2To6l                                                                    fpcobE-e-Zl6-61
                    or ofthe PrincipalPlaceofBusiness:                                                    CountyofResidence  or ofthe PrincipalPlaceofBusiness:
  $ountSOfReslaence                                                                                       San Dieqo
  MailingAddressof Debtor(if differentfromstreetaddress):                                                 Mailing Addressof JointDebtor(if differentftom streetaddress):
  - sameas aoove-                                                                                         - sameas above-

                                                                          lzp cone                                                                                   lzp coos
                                    Debtor(ifdifferentfromstreetaddress
  LooationofPrincipalAssetsofBusiness                                 above):
                                                                                                                                                                     lzp conp
                                TypeofDebtor                                           Natureof Business                              Chapterof BankruptcyCodeUnderWhich
                             (Formof Organization)                            (Checkonebox.)                                            the Petitionis Filed(Checkonebox.)
                               (Checkonebox)

  g
                                                                              tr       Health Care Business                    tr     Chapter7             a       Chapter15Petitionfor
          Individual(includesJointDebtors)                                    tr       Single Asset Real Estateas definedin    tr-    Chapter9                               of a Foreign
                                                                                                                                                                   Recognition
          SeeExhibitD onpage2 of thisform.                                             ll usc $l0l(slB)                        Ef     ChapterI I                   MainProceeding
  tr      Corporation (includesLLC andLLP)                                    tr       Railroad                                tr     Chapter12            tr      Chapter15Petitionfor
  tr      Partnership                                                         !        Stockbroker                                    13
                                                                                                                               tr chapter
  tr      Other(lfdebtoris notoneofthe aboveentities,check                    tr       Commodity Broker                                                            ft:;H#iH::ollfn"
          this box andstatetypeof entitybelow.)                               tr       ClearingBank
                                                                              n        Other
                               Chapterl5 Debtors                                           Tax-ExemptEntity                                      Natureof Debts
  Countryof debtor'scenterof marninterests:                                              (Checkbox,ifapplicable
                                                                                                              )                                  (Checkonebox.)
                                                                                                                               Pf oebts areprimarilyconsumer tr Debtsare
                                                                              tr       Debtoris a tax-exemptorganization          debts,definedin 11U.S.C.      primarily
  Eachcountryin whicha foreignproceeding
                                       by, regarding,
                                                   or                                  undertitle26 of theUnitedStates            $ l0l(8) as"incuredby an      business
                                                                                                                                                                       debts.
  againstdebtoris pending:                                                             Code(theInternalRevenueCode)               individualprimarilyfor a
                                                                                                                                  personal,family,or
                                                                                                                                  household purpose."
                                              Filing Fee(Checkonebox.)                                                               Chapterl1 Debtors
                                                                                                          Checkonebox:
  g       Full FilingFeeattached                                                                          tr  Debtoris a smallbusiness
                                                                                                                                     debtorasdefinedin l l U.S.C.$ 101(51D).
                                                                                                          g   Debtorisnotasmallbusiness debtorasdefined  in ll U.S.C.$ 101(51D)
  tr                                      (applicable
          FilingFeeto bepaidin installments         to individualsonly) Mustattach
                          for thecourt'sconsideration
          signedapplication                        certiSzing thatthedebtoris      Checkif:
          unableto payfeeexceptin installmentsRule1006(b) SeeOfficialForm3A        tr  Debtor'sa1gregate   noncontingentliquidateddebts(excludingdebtsowedto
                                                                                       insidersor affiliates)arelessthan$2,490,925 (amountsubjectto adjustment
  tr      FilingFeewaiverrequested (applicable
                                             to chapter7 individualsonly) Must         on 4/01/16andeverythreeyearsthereafter).

                                                                                                          Checkall applicableboxes:
                                                                                                          tr  A planis beingfiledwith thispetition
                                                                                                          t]  Acceptances  ofthe planweresolicitedprepetition
                                                                                                                                                            fromoneor moreclasses
                                                                                                              ofcreditors,in accordancewith l1 U S C $ ll26(b)
                          Information
  Statistical/Administrative                                                                                                                                            THIS SPACE IS FOR
                                                                                                                                                                        COURT USE ONLY
  g       Debtorestimates thatfundswitl beavailable
                                                  for distribution
                                                                 to unsecured
                                                                            creditors
  tr      Debtorestimates that,afteranyexemptproperfyis excluded andadministrative     paid,therewill beno fundsavailable
                                                                                 expenses                               for
                     to unsecured
          distribution            creditors
  Estimated
          Numberof Creditors
  g             n             t           r             t       r    n                 tr               !            tr               u                  tr
  t-49              50-99                 100-199       200-999      1,000-            5,001-           10,001-     25,001-           50,001-            Over
                                                                     5,000             r0,000           25,000      50,000            I 00,000           r00.000
  EstimatedAssets
  t            r             !             t        r       l         g            t        r       t         r          u        u        t         r
  $0to                    to
                to $100,001
          $50,001                                       $500,001 $1,000,001 $10,000,001$50,000,001$100,000,001$s00,000,001Morethan
  $50,000 $100,000 $500,000                             to$l     to$10      to$50      to$100     to$500      to$l billion $l billion
                                                        million  million    million    million    million
  Estimated
          Liabilities
  t            r            n              t        r       t        r        Z             n       t        r       t        r        E         t            r
  $0 to         to
          $50,001                         $100,00r
                                                 to     $500,001 s1,000,001 $10,000,00r $50,000,001$100,000,001$500,000,001Morethan
  $50,000 $i00,000                        $500.000      to $l    to $10     to $50      to $100    to $500     to $1 billion $l billion
                                                        million  million    million     million    million
                   Case 13-06250-LT11                 Filed 06/16/13               Entered 06/16/13 23:45:59                       Doc 1         Pg. 2 of 36
Bl (Oltlclal l orm
 VoluntaryPetition                                                             Nameof Debtor(s):
 (Thispasemustbecompleted  andfiled in everycase.)                               Zouvas.L0ke& Leena
                                 All Prior BankruptcyCasesFiledWithin Last 8 Years(lf morethantwo,attachadditional    sheet)
 Location                                                                       uaseNumber:                                 Date Filed:
               None                                                              nla
 WhereFiled:
 Location                                                                       CaseNumber:                                 DateFiled:
               n/a
 WhereFiled:                                                                     nla
                    PendinsBankruotcv CaseFiled bv anv Soouse.Partner. or Alfiliate of this Debtor flfmore thanone.attachadditionalsheet)
 Nameof Debtor:                                                                 CaseNumber:                                 DateFiled:
                   None.                                                          nla
 District:                                                                      Relationship:                               Judge:
           rva                                                                   nla                                          nle


                                     ExhibitA                                                                                  ExhibitB
 (Tobe completed                    to file periodicreports
                  ifdebtoris required                       (e g.,fonnsI 0K and                                 (To be completed
                                                                                                                               if debtoris anindividual
 10Q)with theSecuritiesandExchange  Commission   pursuant  to Sectionl3 or l5(d)                                whosedebtsareprimarilyconsumer  debts)
                Exchange
 ofthe Securities        Act of 1934andis requesting reliefunderchapterI I )
                                                                                            l, the aftorneyfor the petitionernamedin the foregoingpetition,declarethat I have
                                                                                            informedthepetitioner   that[he or she]mayproceedunderchapter    7, ll, 12,or 13
                                                                                            oftitle I 1,UnitedStatesCode,andhaveexplained      thereliefavailable undereach


 tr                        andmadea partofthis petition
        ExhibitA is attached
                                                                                                                                           0611412013
                                                                                                             Attornev                   (Date)
                                                                                                                          l
                                                                                  Exhibit C
                                                                                                           harmto publichealthor safety?
                                ofany propertythatposesor is allegedto posea threatofimminentandidentifiable
 Doesthedebtorownor havepossession

 tr     Yes,andExhibitC is attachedandmadea part of this petition.

 g      No,



                                                                                  ExhibitD
                by everyindividualdebtor If ajoint petitionis filed,eachspouse
 (To be completed                                                            mustcomplete                ExhibitD )
                                                                                        andattacha separate

  d    ExhibitD, completed                               andmadea partof thispetition
                         andsignedby thedebtor,is attached

 Ifthis is ajointpetition:

   g    ExhibitD,alsocompletedandsignedbythejointdebtor,isattachedandmadeapartofthispetitron




                                                              InformationRegardingthe Debtor- Venue
                                                                     (Checkanyapplicable box.)
              d      Debtorhas beendomiciledor hashada residence,                            or principalassetsin thisDistrictfor 180 daysimmediately
                                                                     principalplaceof business,
                             thedateofthis petitionor for a longerpartofsuch180daysthanin anyotherDistrict
                     preceding

              tr     Thereis a bankruptcycaseconcerningdebtor'saffiliate,generalpartner,or partnership
                                                                                                     pendingin this District

              n      Debtoris a debtorin a foreignproceeding  andhasits principalplaceofbusinessor principalassets
                                                                                                                 in theUnitedStatesin thisDistrict,or has
                     no principalplaceof business                                              in anactionor proceeding
                                                  or assetsin the UnitedStatesbut is a defendant                        Iin a federalor statecourt]in this
                                            ofthe partieswill beservedin regardto thereliefsought
                     District,or theinterests                                                   in thisDistrict


                                                Certification by a Debtor Who Residesas a Tenant of Residential Property
                                                                        (Check all applicableboxes)

              tr       Landlordhas ajudgment againstthe debtorfor possessionofdebtor's residence (lfbox checked,completethe following )


                                                                                            (Name of landlord that obtainedjudgment)




                                                                                            (Addressof landlord)

              tr       Debtor claims that under applicablenonbankruptcylaw, thereare circumstancesunderwhich the debtor would be permittedto cure the
                       entiremonetarydefault that gave rise to thejudgment for possession,
                                                                                         afterthejudgment for possessionwas entered,and

              tr       Debtor has included with this petition the deposit with the court ofany rent that would become due during the 30-day period after the filing
                       ofthe petition

              n        Debtor certifies that he/she has served the Landlord with this certification (l I U S C $ 362(l)
            Case 13-06250-LT11                              Filed 06/16/13               Entered 06/16/13 23:45:59                                            Doc 1               Pg. 3 of 36
               torm
VoluntaryPetition                                                                                   Nameof Debto(s):
(fhts pagemustbecompleted
                        andfiled m everycase.)                                                     _Zouvas,Luke& Leena
       -                                                                                   Signatores
                        Signature(s)
                                  of Debtor(s)(IndividuaVJoint)                                                                     Signatureof a ForeignRepresentatiye

I declare      underpenalfy        ofpcr;urythatthcinformarion             providedin thispetitionis true I declareunderpenaltyofper.iurythatrheinformationprovidedinthis petitionis true
andcorrect,                                                                                                           andcorrect,  thatI am theforeignrepresentative   ofa.dcbtorin a foreignprooeeding,
[ I f p e t i t i o n e r i s ai nnd i v i d u a l w h o s e d e b p       r ea r i l y c o n s u m e r d e b t s a n and
                                                                   t sr ai m                                                 s I amauthorized
                                                                                                                      d h athat                to file thisDetition.
chosen     to file underchapter          7] I amawarethaiI rnayproceed                                 'j
                                                                                       underchapter, I I , lz
or l3 oftitlc I l, UnitedStates              Code,understand                                                          (Checkonlyonebox.)
                                                                  thercliefavailable           undereachsuch
chapter,     andchoose       to proceed      underchapter     7
                                                                                                                      I     I request
                                                                                                                                    relrefin accordance   with chaprer
                                                                                                                                                                     l5 oftitte I l, UnitedStates
                                                                                                                                                                                                Code.
[Ifno attorney        represents     meandno bankruptcy          petitionpreparer          signsthepetition]I
                                                                                                                            Certifiedcopiesofthedocuments     requiredby 1l U S.C.g l515areattached.
haveobtained         andreadthenoticerequired              by I I U S C g 342(b)
                                                                                                    f]    Pursuantto ll U.SC $ l5ll,l(equestreliefinaccordance    withthe
I r cqucstr elicfi n accordance
                             w irht he chapter
                                             o f title I l, U nitedS tatesC ode.                          chapter
                                                                                                                of title I I specified
                                                                                                                                     in thispetitionA certified
                                                                                                                                                              copyofthe
speciliedin thispetition                                                                                  ordergrantingrecognitionofthe foreignmainproceeding   is attached.
                                                                                                              nla
                                                                                                          (Signatureof ForeignRepresentative)

       /s/ LeenaZouvas
      Signaturcof JointDebtor                                                                             (Printed Name of Foreign Representative)

      TelcphoncNumber(if not
       06114t2013                                                                                         Date

                                                                                                                     Signatureof Non-AttorneyBankruptcyPetitionPrepaier

                                                                                                   ldeclareunderpenaltyof          per,jurythat:      ( l)lama bankr.uptoypetition              prcpareras
                                                                                                   definedin I I U S C g I l0; (2) I prepared           thisdocument      for compensation           andhave
                                                                                                   provided     the debtorwith a copyofthis documcnt                and thenoticesandinformation
      Printe
           d Nameof Attornev
                           fof Debtor(s)                                                                                                                                             a d , ( 3 ) i f r u l e s or
                                                                                                   r e q u i r e dnud e r l l U S C $ $ l l O ( b ) ,I l O ( h ) ,a n d 34 2 ( b ) ; n
       Law Offlces of Edwaid J. Fetzer.  Eso.                                                      guidelines     havebeenpromulgated       pursuant     to I I U.SC. $ I l0(h)settinga maximum
      F'irm
          Name                                                                                     feefor serviceschargeable       by bankruptcypetitionpreparers,             I havegiventhe debtor
       402 WestBroadway,       Suite400                                                            noticeofthe maximumamountbeforepreparinganydocument                            for filing for a debtor
                                                                                                   or accepilng     anyfeefromthedebtor,asrequired              in thatseotion.      OfficialFormt9 is
       S a nD i e g oC
                     , A9 2 1 0 1                                                                  attached
      Address
       619-595-4833                                                                                        nla
     TelephoneNumbcr                                                                                      PrintedNameandtitle,if any,of BankruptcyPetitionPreparer
      nN14t)Oai,
     Date
                                                                                                                        number(Ifthe bankruptcy
                                                                                                          Social-Security                       petitionprepar€r is no!an indiVidual,
*In a oasein whjch 707(bX4)(D)applies,this signaturealsoconstitutesa
                      $                                                                                  'statethe Social-Security
                                                                                                                               numberofthe offioer,principal, responsible  personor
certification that the attorneyhas no knowledge after an inquiry that the intbrmation                     partnerof thebankruptcy                          by I I U.S.C.g I I0.)
                                                                                                                                               ) (Required
                                                                                                                                petitionpreparer
in the schedulesis inconect

                     Signatureof llebtor (Corporation/Partnership)

I declareunderpenaltyofper-iurythat the informationprovided in this petitionis true
and c onect, a nd t hat I h ave b een a uthorizedt o f ile t his petitiono n behalfo f t he
debtor.

                                         with the chapterof t itle I I , Un ited States
The debtorrequesrsthe relief in accordance                                                               Signature
Code,specifiedin this petition

v       n.la                                                                                             Date
     S i g n a t u ro
                    ef A u t h o r i z e d
                                         lndividual
                                                                                                   Signatureofbankruptcy petition prepareror officer,principal;responsibleperson,or
     P r i n t e dN a m eo f A u t h o r i z e d
                                               Individual                                          partnerwhoseSocial-Securitynumber is providedabove.

     Titleof Authorized
                      Individual                                                                   Namesand Sooial-Security               numbersofall other individualswho preparedor assisted
                                                                                                   i n p r e p z u i n g th i s d o o u m e n tu n l e s s t h e b a n k r u p t c y pc t i t i o n p r e p a r e ri s n o l a n
                                                                                                   individual

                                                                                                   Ifmore than one person preparedthis document, attach additional sheetsoonforming
                                                                                                   to the appropriateoffrcial form for each person.

                                                                                                  A bankruptcypetition preparer'sfailure tocomplywith the provisions oftitle I and
                                                                                                  the Federal Rules of Bankruplqt Procedure may resuil i/i|ines or imprlsonment or
                                                                                                   both.1l U.S.C.
                                                                                                               $ 110:18U.S.C.
                                                                                                                           $ 156.
Case 13-06250-LT11                Filed 06/16/13   Entered 06/16/13 23:45:59        Doc 1   Pg. 4 of 36




                            D) ( 12109)
B l D (OfficialFormI, Ex.hibit



                      IJmrpn SrarpsBaxrnuprcY Counr
                                          SouthernDistrictof California


         In re Zouvas.Luke                                                CaseNo.
                             Debtor                                                   (if known)




    EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statementsregarding
credit counselinglisted below. If you cannot do so, you are not eligible to file a bankruptcy
case,and the court can dismiss any caseyou do file. If that happens,you will losewhatever
filing fee you paidoand your creditors will be able to resume collection activities against
you. If your caseis dismissedand you file another bankruptcy caselater, you may be
required to pay a secondfiling fee and you may have to take extra steps to stop creditors'
collection activities.

       Every individual debtor mustfile this Exhibit D. If a joint petition isfiled, eachspouse
must complete andfile a separateExhibit D. Checkone of thefive statementsbelow and attach
any documentsas directed.

       d t. Wittrin the 180 days before the filing of my bankruptcy case,I receiveda briefing
from a credit counseling agency approvedby the United Statestrustee or bankruptcy
administratorthat outlined the opportunities for available credit counseling and assistedme in
performing a related budget analysis,and I have a certificate from the agency describing the
servicesprovided to me. Attach a copy of the certificate and a copy of any debt repaymentplan
developedthrough the agency.

        il 2. Within the 180 days before the filing of my bankruptcy case,I receiveda briefing
from a credit counseling agency approvedby the United Statestrustee or bankruptcy
administratorthat outlined the opportunities for available credit counseling and assistedme in
performinga relatedbudgetanalysis,but I do not have a certificatefrom the agencydescribing
the servicesprovidedto me. You mustfile a copy of a certificatefrom the agencydescribingthe
servicesprovided to you and a copy ofany debt repaymentplan developedthrough the agency
no later than I4 days after your banlwuptcycase isfiled.
Case 13-06250-LT11             Filed 06/16/13   Entered 06/16/13 23:45:59     Doc 1    Pg. 5 of 36




    B lD(OlficialForml, FixhD) (12109)-
                                      Cont,                                                  Page2


      il 3.I ceftirythatI requested
                                 creditcounseling
                                                services
                                                       fromanapprovedagency
                                                                          but
 wasunableto obtaintheservices duringthesevendaysfromthetimeI mademyrequesi,
                                                                          andthe
 following exigentcircumstancesmerit a temporarywaiver of the credit counselingrequirement
 so I can file my bankruptcycasenow. [Summarizeexigentcircumstanceshere,J




        If your certificationis satisfactoryto the court, you must still obtain the credit
 counselingbriefing within the first 30 days after you file your bankruptcy petition and
 prornptly file a certificate from the agencythat provided the counseling,together with a
 copy of any debt managementplan developedthrough the agency. Failure to fulfill these
 requirementsmay result in dismissalof your case. Any extensionof the 30-day deadline
 can be granted only for causeand is limited to a mnximum of 15 days. Your casemay also
 be dismissedif the court is not satisfiedwith your reasonsfor filing your bankruptcy case
 without first receiving a credit counselingbriefing.

        n 4.1am not requiredto receivea creditcounselingbriefing beeauseof: [Checkthe
 applicablestatement.J[Must be accompaniedby a motionfor determinationby the court.J

                   0 Incapacity. (Definedin I I U.S.C.$ 109(hX4)as impairedby reasonof mental
            illnessor mentaldeficiencyso as to be incapableof realizingand makingrational
            decisionswith respectto financialresponsibilities.);
                   C Disability. (Definedin 11U.S.C.$ 109(hX4)as physicallyimpairedto the
            extentof being unable,after reasonable   effort, to participatein a credit counseling
            briefing in person,by telephone,or tlrough the Internet.);
                   fl Active military duty in a military combatzone.

      il 5. The United Statestrusteeor bankruptcyadministratorhasdeterminedthat the credit
 counselingrequirementof I I U.S.C.$ 109(h)doesnot apply in this district.


            I certify under penalty of perjury that the information provided aboveis true and
 coffect.



                                    signature      tst rut<e
                                           of Debtor:      zouvas                l"U4fi/Vtl\A
                                                                       14
                                    941s. 0611412013
Case 13-06250-LT11              Filed 06/16/13    Entered 06/16/13 23:45:59       Doc 1    Pg. 6 of 36




B lD (OfficialForm1,ExhibitD) (12109)



                     UmrpD STATES
                                BANKRUPTCy
                                         Counr
                                        Southern Dishictof California


         In re ZouvasLuke                                               CaseNo.
                            Debtor                                                  (if known)




    EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELINGREQUIREMENT

        Warning: You must be ableto checktruthfully oneof the five statementsregarding
credit counselinglistedbelow. If you cannotdo so,you are not eligibleto file a bankruptcy
case,and the court can dismissany caseyou do file. If that happens,you will losewhatever
filing feeyou paid, and your creditorswill be ableto resumecollectionactivitiesagainst
you. If your caseis dismissedand you file anotherbankruptcycaselater, you may be
requiredto pay a secondfiling feeand you may haveto take extra stepsto stopcreditors'
collectionactivities.

      EveryindividualdebtormustfilethisExhibitD. If ajoint petitionisfiled, eachspouse
mustcompleteandfile a separateExhibit D. Checkoneof thefive statements  belowand attach
anydocuments as directed.

       6 t. Wittrinthe 180daysbeforethe filing of my bankruptcycase,I receiveda briefing
from a creditcounselingagencyapprovedby the UnitedStatestrusteeor bankruptcy
administratorthat outlinedthe opportunitiesfor availablecreditcounselingandassistedme in
performinga relatedbudgetanalysis,andI havea certificatefrom the agencydescribingthe
servicesprovidedto me. Attacha copyof thecertificateand a copyof any debtrepayment   plan
developed through  the agency.

       il 2. Withinthe 180daysbeforethe filing of my bankruptcycase,I receiveda briefing
from a creditcounselingagencyapprovedby the UnitedStatestrusteeor bankruptcy
administrator that outlinedthe opportunitiesfor availablecreditcounselingandassistedme in
performinga relatedbudgetanalysis,but I do not havea certificatefrom the agencydescribing
the servicesprovidedto me. Youmustfile a copyof a certificatefrom the agencydescribingthe
servicesprovidedto you and a copyofany debtrepayment      plan developedthroughtheagency
no later than I4 daysafter your bankruptcy case  isfiled.
Case 13-06250-LT11           Filed 06/16/13   Entered 06/16/13 23:45:59    Doc 1    Pg. 7 of 36




   B tD (Official
                Form1,Exh D) (12109)-Cont                                                    Page2



        n 3. I certii/ thatI requested
                                     creditcounselingservicesfrom an approvedagencybut
 wasunableto obtainthe servicesduringthesevendaysfrom thetime t m-ade    my request,andthe
 followingexigentcircumstances    merita temporarywaiverof thecreditcounselingrlquirement
 soI caniile my bankruptcycasenow, [Summarize     exigentcircumstances here,J




        If your certification is satisfactoryto the court, you must still obtain the credit
 counselingbriefing within the first 30 days after you file your bankruptcy petition and
 promptly file a certificate from the agencythat provided the counseling,togetherwith a
 copyof any debt managementplan dcvelopedthrough the agency. Failure to fulfill these
 requirementsmay result in dismissalof your case. Any extensionof the 30-daydeadline
 can be grantedonly for causeand is limited to a maximum of 15 days. Your casemay also
 be dismissedif the court is not satisfiedwith your reasonsfor filing your bankruptcy case
 without first receiving a credit counselingbriefing.

        n 4. I am not required to receivea credit counselingbriefing becauseof: [Check the
 applicablestatement.J[Must be accompaniedby a motionfor determinationby the court.J

                3 Incapacity. (Definedin 1l U.S.C.$ 109(h)(4)as impairedby reasonof mental
        illness or mental deficiency so as to be incapableof realizing and m-akingrational
        decisionswith respectto financialresponsibilities.);
                tl Disability. (Definedin 11 U.S.C.$ 109(hX4)asphysicallyimpairedto the
        extentof being unable,after reasonableeffort, to participatein a credit counseling
        briefing in person,by telephone,or throughthe Internet.);
                D Active military duty in a military combatzone.

      ll 5. The United Statestrusteeor bankruptcyadministratorhas determinedthat th'ecredit
 counseiing
          requirement of 11 U.S.C.S 109(h)doesnot applyin this district.


      I certify under penalty of perjury that the information provided aboveis true and
correct.


                                 Signatureof Debtor:/s/ LeenaZouvas

                                 palu 0611412013
           Case 13-06250-LT11             Filed 06/16/13          Entered 06/16/13 23:45:59                  Doc 1       Pg. 8 of 36

         (OfficialForm6 - Summary)
86 Summary                      (12107)



                                     UnitedStatesBankruptcy
                                                         Court
                                                    Sout ern Districtof Caiifornia

1n1s Zouv?S,Luke                                                                    CaseNo.
                             Debtor
                                                                                    Chapter             11

                                              SUMMARY OF SCHEDULES
Indicateas to eachschedulewhetherthat scheduleis attachedand statethe number of pagesin each. Report the totalsfrom SchedulesA, B, D, E, F, I,
and J in the boxesprovided. Add the amountsfrom SchedulesA and B to determinethe total amount of the debtor's assets.Add the amountsof all
claims from SchedulesD, E, and F to determinethe total amountof the debtor's liabilities. Individual debtorsalso must completethe "Statistical
Summaryof CertainLiabilities and RelatedData" if they file a caseunderchapter7, 11, or 13.


                                             ATTACHED
 NAME OF SCHEDULE                             (YES/NO)       NO. OF SHEETS           ASSETS              LIABILITI[,S              OTHER

 A - RealProperty                                                    1           $ z,6so,ooo.oo

 B - PersonalProperty
                                                                    3            $ rcz,zsz.za
 C - Property
            Claimed                                                 1
     asExempt

 D - Creditors
             Holding
                                                                    z
                                                                                                    s        3,307,357.80
     SecuredClaims

 E - CreditorsHoldingUnsecured                                                                      $
     PriorityClaims                                                 2                                                   0.00
     (Totalof ClaimsonSchedule
                             E)

 F - Creditors
            HoldingUnsecured                                                                        t
     NonpriorityClaims                                               2                                        3 t3 , 1 s 8 . 0 1

 G - ExecutoryContractsand
     UnexpiredLeases                                                 1

 H - Codebtors
                                                Y                    I



 I - CurrentIncomeof
                                                                     1                                                         $   t g,ogs .oo
     Individual Debto(s)

 J - CurrentExpenditures
                      oflndividual                                   1                                                         $   17,383.00
     Debtors(s)

                                     TOTAL                                      s z,agz,zgz.zo
                                                                                            $ a,ozo,st
                                                                                                   s.ao
            Case 13-06250-LT11                         Filed 06/16/13                Entered 06/16/13 23:45:59                           Doc 1          Pg. 9 of 36

Form6 - Statistical    (12107)
                 Summary



                                             UnitedStatesBankruptcy
                                                                 Court
                                                                         SouternDistrict
                                                                                      of Caiifornia

InreZouvas,Luke                                                                                                CaseNo.
                                    Debtor
                                                                                                              Chapter

     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C.$ 159)
               If you arean individualdebtorwhosedebtsareprimarilyconsumer                                           debts,asdefinedin g 101(8)of theBankruptcy Code(l I U.S.C.
$ l 0 l ( 8 ) ) , f i l i n g a c a s e u n d e r c h a p t e r T ,ll3l o, yr o u m u s t r e p o r t a l l i n f o r m a t i o n r e q u e s t e d b e l o w .

        n Checkthisbox if you arean individualdebtorwhosedebtsareNOT primarilyconsumer
                                                                                     debts.You arenot requiredto reportany
infbrmationhere.

This information is for statisticalpurposesonly under 28 U.S.C.$ 159.

        the followingtypesof Iiabilities,
Summarize                              as reportedin the Schedules,
                                                                 and totalthem.



 Type of Liability                                                                    Amount

 Domestic
        Support       (fiomSchedule
             Obligations         E)                                                   $               0.00
 Taxes and CertainOther DebtsOwed to GovernmentalUnits                                $               o.oo
 (from ScheduleE)

 Claimsfor Deathor Personal
                         lnjury WhileDebtorWas                                        $               o.oo
           (fromSchedule
 Intoxicated            E) (whetherdisputedor undisputed)

 StudentLoan Obligations(from ScheduleF)                                              $               0.00
 DomesticSupport,Separation       andDivorceDecree
                          Agreement,                                                  s               o.oo
 Obligations
           Not Reported         E
                      on Schedule

 Obligations
           to Pension
                    or Profit-Sharing,
                                    andOtherSimilar                                   $               0.00
           (fromSchedule
 Obligations            F)

                                                                        TOTAL         $               0.00

State the followi

 AverageIncome (from ScheduleI, I-ine l6)                                             $       1 9 , 0 8 50 0
               (from ScheduleJ, Line I 8)
 AverageExpenses                                                                      $       1 7 , 3 8 30 0

 Cunent Monthly Income(from Form 22A Line l2; OR, Form                                $      23,561.00
 228 Line I l; OR, Form 22C Line 20 )


Statethe followin
                     D, "UNSECUREDPORTION,IF
  l. Totalfrom Schedule                                                                                         $      z8z,z86.+8
  ANY" column

                      E, "AMOUNT ENTITLEDTO
  2. Totalfrom Schedule                                                               $               o.oo
  PRIORITY"column.

                     E, "AMOUNT NOT ENTITLEDTO
  3. Totalfrom Schedule                                                                                         $
  PRIORITY,IF ANY" column
                                                                                                                                 o.oo
                                                                                                     :;#Hii
                      F
  4. Totalfrom Schedule                                                                                         $      g r3 , 1 5 8 . 0 1

                                 debt(sum of l, 3, and 4)
  5. Total ofnon-priorityunsecured                                                                              s      600,444.49
        Case 13-06250-LT11             Filed 06/16/13         Entered 06/16/13 23:45:59              Doc 1      Pg. 10 of 36
864. (OftrcialForm6A) (12107)


1n.. Zouvas,Luke                                                                           CaseNo.
                  Debtor                                                                                     (If known)


                                      SCHEDULEA. REAL PROPERTY
   Exceptasdirectedbelow,list all realpropertyin whichthedebtorhasanylegal,equitable,               includingall propertyownedasa co-
                                                                                    or futureinterest,
tenant,communityproperty,or in whichthedebtorhasa life estate.Includeanypropertyin whichthedebtorholdsrightsandpowersexercisable  for
thedebtor'sownbenefit.If thedebtoris married,statewhetherthehusband,wife,both,or themaritalcommunityownthepropertyby placingan"H,"
"W," "J," or "C" in thecolumnlabeled"Husband,Wife, Joint,or Community."If the debtorholdsno interestin realproperty,write"None"under
"Description andLocationof Property."

  Do not includeinterests
                        in executory
                                   contractsand unexpiredleases                                   G - ExecutoryContractsand
                                                              on thisschedule.List them in Schedule
UnexpiredLeases.

    If anentityclaimsto havea lienor holda secured      in anyproperty,
                                                 interest             statetheamountof thesecuredclaim.SeeSchedule
                                                                                                                D. If noentityclaims
to holda secured interestin theproperty,write"None"in thecolumnlabeled"Amountof Secured   Claim."

   If thedebtoris an individualor if a joint petitionis filed,statetheamountof anyexemption                                   C - Property
                                                                                          claimedin thepropertyonly in Schedule
ClaimedasExempt.



                                                                          p-
                                                                          =,
            DESCRIPTION
                      AND                                                 o>          CURRENTVALUE                  AMOUNT OF
             LOCATIONOF                       NATUREOF DEBTOR'S           Ei-=         OF DEBTOR'S                   SECURED
              PROPERTY                       INTERESTIN PROPERTY          ==           INTERESTIN                     CLAIM
                                                                          o__ot
                                                                            o       PROPERTY.WITHOUT
                                                                          a d
                                                                          d o         DEDUCTINGANY
                                                                          q
                                                                          --          SECUREDCLAIM
                                                                                      OR EXEMPTION

 977 WindflowerWay                         jointtenancy
                                                                                            1,250,000.00               1,810,473.00
 San Diego,CA 92106

 2368 SecondAvenue                         fee simple                                       1,400,000.00               1,440;000;00
 San Diego,CA92101




                                                                      Total)                  265.000.00
                                                                      (Reportalsoon Summaryof Schedules.)
             Case 13-06250-LT11                                    Filed 06/16/13             Entered 06/16/13 23:45:59                            Doc 1   Pg. 11 of 36
B 68 (OfficialForm68) (12107)


rnre ZouVas,Luke                                                                                                                         CaseNo.
                                   Debtor                                                                                                              (If known)



                                                                 SCHEDULEB. PERSONALPROPERTY
          Exceptasdirectedbelow,listallpersonalpropertyofthedebtorofwhateverkind.  Ifthedebtorhasnopropertyinoneormoreofthecategories,
placean "x" in theappropriate  positionin thecolumnlabeled"None." If additionalspaceis neededin any category               sheetproperly
                                                                                                           , attacha separate
identifiedwiththecasename,casenumber,andthenumberof thecategory.If thedebtoris married,statewhetherthehusband,     wife,both,or themarital
communityownthepropertyby placingan "H," "W," "J," or "C" in thecolumnlabeled"Husband,Wife, Joint,or Community."If thedebtoris an
individualor ajoint petitionis filed,statetheamountof anyexemptionsclaimedonly in Schedule C - PropertyClaimedasExempt.

       Do not listinterests
                          in executory
                                     contractsandunexpiredleases
                                                               on thisschedule.                  G - ExecutoryContractsand
                                                                              List themin Schedule
UnexpiredLeases.

Ifthe propertyis beingheldfor thedebtorby someone else,statethatperson'snameandaddress under"Description andLocationofProperty."
If thepropertyis beingheldfor a minorchild,simplystatethechild'sinitialsandthenameandaddressof thechild'sparentor guardian,
                                                                                                                         suchas
"A.8.,a minorchild,by JohnDoe,guardian."   Do notdisclosethechild'sname.See,1I U.S.C.g 112andFed.R. Bankr.P. 1007(m).


                                                                                                                                               =       CURRENTVALUEOF
                                                                                                                                               o
                                                                                                                                                       DEBTOR'SINTEREST
                                                                   N                                                                           ;-      IN PROPERTY,WITH-
               TYPDOF PROPERTY                                     o                 DESCRIPTIONAND LOCATION                                   ==      OUT DEDUCTINGANY
                                                                   N                      OF PROPERTY                                          i=
                                                                                                                                               1 0       SECUREDCLAIM
                                                                                                                                                          OR EXEMPTION
                                                                   E
                                                                                                                                               ?"-
 I    Cash on hand                                                                                                                             c                      300.00
 2 Checking,savingsor other finan-
 c i a l a c c o u n t sc,e r t i fci a t e so f d e p o s i t          WellsFargoPrimechecking(xx9967)
 or sharesin banks,savingsand loan,                                     Wells FargoBasicchecking(xx2363)
 thrift, building and loan,and home-                                    Wells Fargochecking(xx8604)                                                                  1,932.26
 steadassociations,              or credil unions,                      Wells FargoHighYieldsavings(xx9748)
 brokeragehouses.or cooperatives                                        Wells FarooPreferredRatesavino(xx2463)
 3 Securitydepositswith public util-
 ities,telephonecompanies,land-                                    X
 lords,and others

 4 I J o u s e h o lg   d o o d sa n d f u r n i s h i n g s ,
 i n c l u d i n ga u d i o ,v i d e o ,a n d c o m p u t e r           used homefurnishings,        and AV
                                                                                           televisions
                                                                        equipment                                                                                   27,000,00
 equipment

 5 Books, picturesand other art
 objects;antiques;stamp,coin,                                           misc.homedecor,variousart
                                                                                                                                                                     1,000.00
 record,tape,compactdisc, and other
 collectionsor collectibles

 6 Wearingapparel                                                       used clothes                                                           c                    "15;0,00100i:
 7 Furs andjewelry                                                      miscjewelry,weddingring                                                                     10,000.00
 8. Firearmsand sports.photo-
 graphic,and other hobby equipment.                                     variousfirearms,golf cart,golf clubs,misc.
                                                                        sportingequipment
                                                                                                                                                                     6,300.00
 9 . I n t e r e s t isn i n s u r a n cpeo l i c i e s
 Name insurancecompanyofeach
 policy and itemizesurrenderor                                     X
 refund value of each

 10. Annuities Itemizeand name
 eachissuer                                                        X

  I I lnterestsin an educationIRA as
 d e f i n e di n 2 6 U S C $ 5 3 0 ( b X l ) o r u n d e r
                                                                        529 Planfor ZZ (minorchild)- $10,000.00
 a qualified Statetuition plan as defined in
 2 6 U S C $ 5 2 9 ( b X 1 )G i v e p a r t i c u l a r s
                                                                        5 2 9 P l a nf o r E Z ( m i n o rc h i l d ) -$ 1 8 , 0 0 0 . 0 0
                                                                                                                                                                    28,000.00
 (File separatelythe record(s)of any such
 i n t e r e s t ( s )l l U S C $ 5 2 i ( c ) )
        Case 13-06250-LT11                    Filed 06/16/13   Entered 06/16/13 23:45:59          Doc 1   Pg. 12 of 36
                            - Cont
B 6B (OfficialForm68) (12107)




rnre Zouvas.Luke                                                                    CaseNo.
                    Debtor                                                                            (If known)


                                      SCHEDULE B - PBRSONALPROPERTY
                                                         (Continuation Sheet)

                                                                                           =          CURRENTVALUE OF
                                                                                           2          DEBTOR'S INTEREST
                                              N                                            5t:        IN PROPERTY,WITH.
         TYPE OF PROPERTY                     o           DESCRIPTIONAND LOCATION          -=         OUT DEDUCTING ANY
                                                                                           a-E
                                              N                 OFPROPERTY                 =  -         SECUREDCLAIM
                                                                                           6A
                                              E                                            4d
                                                                                           =o
                                                                                                         OR EXEMPTION


 12 Interestsin IRA, ERISA,Keogh,or
 otherpension or profitsharingplans.          x
 Giveparticulars.

 13.Stockandinterests
                   in incorporated                 ZouvasLaw Group,P.C.(50%ownership)         a                    89,500.00
 andunincorporated
                 businesses                        2368 SecondAve, San Diego,CA
 Itemize.

 14.Interestsin partnerships
                          orjoint
 ventures.Itemize.                            X


 15.Government andcorporate
                          bonds
 andothernegotiable
                  andnon-
                                              X
 negotiable
          instruments

 16.Accounts
           receivable.
                                              X
 17. Alimony,maintenance, support,
 andpropertysettlementsto whichthe
 debtoris or maybeentitled.Give               X
 particulars.

 18. Otherliquidated
                   debtsowedto
 debtorincludingtax refunds.Give              X
 particulars.

 19.Equitable or futureinterests,
                               life
        andrightsor powersexercisable
 estates,
 for thebenefitof thedebtorotherthan
 thoselistedin Schedule A - Real              X
 Property

 20.Contingent  andnoncontingent
 interestsin estateofa decedent.
                               death
 benefitplan,life insurancepolicy,or trust,   X


 21.Othercontingent  andunliquidated
 claimsofeverynature,includingtax
 refunds,counterclaims ofthe debtor,and
 rightsto setoffclaims.Giveestimated          X
 valueofeach.
         Case 13-06250-LT11                   Filed 06/16/13    Entered 06/16/13 23:45:59                            Doc 1        Pg. 13 of 36
B 68 (Official Form68) (1210'/)- Cont.


rnre Zouvas,Luke                                                                                    Case No.
                     Debtor                                                                                                    (fknown)

                                       SCHEDULEB. PBRSONALPROPERTY
                                                               (Continuation
                                                                           Sheet)


                                                                                                               E               CURRENT VALUE OF
                                                                                                               o
                                                                                                                               DEBTOR'S INTEREST
                                                                                                               @->
                                               N                                                                               IN PROPERTY,WITH-
          TYPf, OF PROPERTY                    o          DESCRIPTIONAND LOCATION                              ==              OUT DEDUCTING ANY
                                               N               OF PROPERTY                                     i=                SECUREDCLAIM
                                                                                                               d o
                                               E
                                                                                                               2e                 OREXEMPTION


 22.Patents,copyrights,
                     andother
           property.Giveparticulars.
 intellectual                                  x
 23.Licenses,        andothergeneral
            franchises,
           Giveparticulars.
 intangibles.

 24 Customer   listsor othercompilations
 containingpersonally   identifiable
 information (asdefinedin 1l U S C.
  $ 101(4lA) provided    to thedebtorby
 individualsin connection   with obtaininga    x
 productor servicefrom thedebtor
 primarilyfor personal,  family,or
 household purposes.

 25.Automobiles,trucks,trailers,
                                                    2010 Mercedes-BGL550(leasedvehicle)
 andothervehicles
                andaccessories
                                                                     S550V(leasedvehicle)
                                                    2011 Mercedes-Benz                                                                         0.00
 26.Boats.motors.
                andaccessories
                                               X    450 Yamaha,450 HondaQuad,Honda50                                                       3,200.00
 27. Atcraft andaccessories.
                                               X
 28.Officeequipment,
                  furnishings,
 andsupplies.
                                               X


 29.Machinery,
             fixtures,equipment,
           usedin business.
 andsupplies
                                               X


 JU   lnventory.                               X


 3 l Animals.                                  X


 32.Crops- growingor harvested
 Giveparticulars.                              X


 33.Farmingequipment
                  andimplements.                                                                                     .i:
                                               X


 34.Farmsupplies,      andfeed,
               chemicals,                      X

 35.Otherpersonal propertyofany kind
 notalreadylisted ltemize.                     X



                                                                  0   continuation sheetsattached     Total)               $              182,232.26
                                                                 (Includeamountsfrom any continuation
                                                                 sheetsattached.Reporttotal alsoon
                                                                           Summaryof Schedules.)
        Case 13-06250-LT11             Filed 06/16/13       Entered 06/16/13 23:45:59          Doc 1       Pg. 14 of 36
B6C (Official Form6C) (04/l 3)


In re Zouvas,Luke                                                            CaseNo.
                           Debtor                                                             (If known)


                          SCHEDULEC. PROPERTYCLAIMED AS EXEMPT

 Debtorclaimstheexemptions
                         to which debtoris entitledunder:        tr Checkif debtorclaimsa homestead
                                                                                                  exemptionthatexceeds
 (Checkonebox)                                                      $l 55,675.*
 !     ilu.s.c.$s22(bx2)
 r/ rru.s.c.gs22(bx3)



                                                                                                         CURRENT
                                         SPECIFYLAW                        VALUE OF                 VALUE OF PROPERTY
     DESCRIPTIONOF PROPERTY             PROVIDINGEACH                      CLAIMED                  WITHOUT DEDUCTING
                                          EXEMPTION                       EXEMPTION                     EXEMPTION



  WellsFargochecking
                   and              ccP s703.140(b)(5)                                2,232.26                     2,232.26
  savingsaccounts,
                cash

                                    ccP s7 0 3 .1 4 0( bx3)                         27,000.00


  misc.homedecor,various            ccP s7 0 3 .1 4 0( b) ( 3)                        '1,000.00
  art; usedclothes

  miscjewelry,weddingring           ccP s703.140(bx4),                                1,425.00
                                    ccP s7 0 3 .1 4 0( b) ( 5)                        8,575.00

  variousfirearms,golf cart,        ccP s7 0 3 .1 4 0( b) ( 5)                       6,300.00                      6,300.00
  golfclubs,misc.equipment

 450 Yamaha,450 Honda               ccP s703.140(bx2)                                3,200.00
 Quad,Honda50

 ZouvasLaw Group,P.C.               ccP s7 0 3 .1 4 0( bx5)                          8,232.74                     89,500.00
 (50%ownership)




* Amountsubjecttoadjustmenton4/01/t6,andeverythreeyearsthereafterwithrespecttocasescommencedonorafterthedateofadjustment.
        Case 13-06250-LT11                Filed 06/16/13           Entered 06/16/13 23:45:59                Doc 1       Pg. 15 of 36

B 6D (OfficialForm6D) (12107)

                   In re Zouvas.Luke                                                      CaseNo.
                                           Debtor                                                                    (If known)

                            SCHEDULED. CREDITORSHOLDING SECUREDCLAIMS
          Statethename,mailingaddress,     includingzip code,andlastfourdigitsof anyaccountnumberof all entitiesholdingclaimssecured         by
 propertyofthe debtorasofthe dateoffiling ofthe petition.Thecomplete       accountnumberofany accountthedebtorhaswith thecreditoris useful
to thetrusteeandthecreditorandmaybe providedifthe debtorchooses          to do so. List creditorsholdingall typesofsecuredinterests   suchas
judgmentliens,gamishments,     statutoryliens,mortgages, deedsof trus! andothersecurityinterests.
          List creditorsin alphabeticalorderto the extentpracticable.If a minor child is the creditor,statethe child'sinitialsandthe nameand
address of thechild'sparentor guardian,   suchas "A.B.,a minorchild,by JohnDoe,guardian."       Do not disclosethechild'sname.See,I I U.S.C.$112
andFed.R. Bankr.P. 1007(m).Ifall secured      creditorswill notfit on thispage,usethecontinuation    sheetprovided.
          If anyentityotherthana spousein a joint casemay bejointly liableon a claim,placean"X" in the columnlabeled"Codebtor,"includethe
entityon theappropriate  schedule ofcreditors,andcompleteSchedule      H - Codebtors.   Ifajoint petitionis filed,statewhetherthe  husband,wife,
bothof them,or themaritalcommunitymaybe liableon eachclaimby placingan"H," "W," "1," or "C" in thecolumnlabeled"Husband,                  Wife,
Joint,or Community."
          If theclaimis contingent, placean"X" in thecolumnlabeled"Contingent."If theclaimis unliquidated,          placean "X" in thecolumn
labeled"Unliquidated."If theclaimis disputed,   placean"X" in thecolumnlabeled"Disputed."(You mayneedto placean"X" in morethanoneof
thesethreecolumns.)
          Totalthecolumnslabeled"Amountof ClaimWithoutDeducting             Valueof Collateral"and"Unsecured      Portion,if Any" in theboxes
labeled"Total(s)"on thelastsheetof thecompleted     schedule.Reportthetotalfromthecolumnlabeled"Amountof ClaimWithoutDeducting                Value
of Collateral"alsoon theSummaryof Schedules      and,if thedebtoris an individualwith primarilyconsumer       debts,reportthetotalfromthecolumn
labeled"Unsecured   Portion,if Any" on theStatisticalSummaryof CertainLiabilitiesandRelatedData.

          tr       Checkthisbox if debtorhasno creditorsholdingsecured
                                                                     claimsto reporton thisSchedule
                                                                                                  D.


 CREDITOR'SNAME AND                                   DATE CLAIM WAS           F                  AMOUNT OF CLAIM                UNSECURED
    MAILING ADDRESS                                     INCURRED,              z     E
                                                                                     ir               WITHOUT                    PORTION,IF
INCLUDING ZIP CODE AND               F                NATUREOF LIEN.                        F.    DEDUCTINGVALUE                    ANY
  AN ACCOUNTNUMBER                   rq                    AND                 z                   OF COLLATERAL
   (SeeInstructionsAbove.)                             DESCRIPTION             F
                                                                               z     a      U)
                                     U                 AND VALUE OF                  Fl

                                                        PROPERTY               U     z
                                                      SUBJECTTO LIEN
AccouNr No.xx5663
                                                      1112006,Deedof
IndyMac
      Mortgage                                        Trust,977
6900Beatrice
           Drive                             c        WindflowerWay,                                      1,536,473.00                      0.00
Kalamazoo,
         M149009                                      SanDiego,CA
                                                     VALUE
                                                         $ 1.250.000
ACCOUNTNO.
                                                      1112006,2nd
GreenTree                                             DOT,977
P OB o x6 1 7 2                              c        Windflower
                                                               Way,                         X               247,286.48             247.286.48
RapidCity,SD 57709                                    SanDiego,CA
                                                     VALUE
                                                         $ 1.250.000
ACCOUNTNO.
                                                      05|2OOB, Deed of
WellsFargo                                            Trust, 2368
Correspondence                               c        SecondAvenue                                        1,000,000.00                      0.00
PO Box10335                                           San Diego,CA
DesMoines,lA 50306
                                                     VALUE$ 1 400 000
 1   continuation
                sheets                               Subtotal )
                                                     (Total ofthis page)
                                                                                                 $
                                                                                                          ,,rrg,7sg.4o
                                                                                                                             s      ,or,rru.o,
     attached
                                                     Total )
                                                     (Use only on last page)
                                                                                                 s                           $
                                                                                                 (Reportalsoon Summaryof     (lfapplicable,report
                                                                                                 Schedules.)                 alsoon Statistical
                                                                                                                             Summaryof Certain
                                                                                                                             LiabilitiesandRelated
                                                                                                                             Data.)
        Case 13-06250-LT11            Filed 06/16/13        Entered 06/16/13 23:45:59             Doc 1       Pg. 16 of 36

                           - Cont.
B 6D (OfficialForm6D) (12107)


In re Zouvas.Luke                                            CaseNo.
                      Debtor                                                              (if known)

                              SCHEDULE D - CREDITORSHOLDING SECUREDCLAIMS
                                                        (Continuation Sheet)



 CREDITOR'SNAME AND                           DATE CLAIM WAS             F            AMOI.INT OF CLAIM         TJNSECURED
    MAILING ADDRESS                          INCURRED,NATURE             z               WITHOUT                PORTION,IF
  INCLUDING ZIP CODE           F                OF LIEN, AND                          DEDUCTING VALUE              ANY
    AND AN ACCOUNT                            DESCRIPTIONAND             z             OFCOLLATERAL
         NUMBER                             VALUE OF PROPERTY            z        o
   (SeeInslructionsAbotte.l    U              SUBJECTTO LIEN                 Fl
                                                                         O   2
                                                                             i



ACCOUNTNO.
                                            05/2008,2DOT,
ZouvasFamilyTrust                           2368Second
3737GardenLane                        c     Avenue                                           440,000.00          40,000.00
SanDiego,CA92106                            SanDiego,CA
                                           VALUE
                                               $         1.400.000
ACCOUNTNO.yy37RB
                                            04110.leased
Mercedes-Benz                               vehiclearrears,
Financial
       Services                             2010Mercedes-B
PO Box5209                            c                                                         2,855.82                0.00
                                            GL55O
           lL
CarolStream,
60197
                                           V A L U E$    44,000.00
ACCOUNT
      NO.xx2940
                                            02111,rejected
Mercedes-Benz                               leasedvehicle
FinancialServices                     c     balance,2011                                       33,742.66                0.00
PO Box 5209                                 Mercedes-BS550V
CarolStream,lL 60197                       VALUE$        qa o7E nn
AccoUNTNo.xx7455
                                            07104,fractional
MarriotVacationClub                         realproperty
1200BartowRoad                        c     interestin Palm                                    21.000.00               0.00
PO BoxB03B                                  Springstimeshare
Lakeland,Florida33801                      VALUE
                                               $         21.000.00
AccoIJNTNo.xx7455
                                           07104,fractional
MarriotVacation
              Club                         realproperty
1200BartowRoad                        c    interestin Las                                      26.000.00               0.00
PO Box8038                                 Vegastimeshare
Lakeland.Florida
               3380i
                                           VALUE$ 26 non nO
                    'l
Sheetno    1 of        conlrnuatlon                     Subtotal (s))                 $                     $
sheetsattachedto Scheduleof                      (Total(s)of thispage)
CreditorsHolding Secured                                                                      523,598.48          40,000.00
Claims

                                                                                            3,307,357.80$
                                                         Total(s))                    o
                                                (Useonlyon lastpage)                  "                          zat,zaa.qa
                                                                                      (Reportalsoon         (Ifapplicable,
                                                                                      Summaryof Schedules.) reportalsoon
                                                                                                            StatisticalSummary
                                                                                                            of Certain
                                                                                                            Liabilitiesand
                                                                                                            RelatedData.)
          Case 13-06250-LT11                Filed 06/16/13          Entered 06/16/13 23:45:59                  Doc 1       Pg. 17 of 36

B6E (OfficialForm6E)(04/13)


            Inre Zouvas Luke                                                                       CaseNo.
                                   Debtor                                                                             (if known)


          SCHEDULEE - CREDITORSHOLDING UNSECUREDPRIORITY CLAIMS

    A completelist ofclaims entitledto priority, listed separatelyby type ofprioriry, is to be set forth on the sheetsprovided. Only holdersof
unsecuredclaimsentitledto priority should be listed in this schedule.In the boxesprovidedon the attachedsheets,statethe name,mailing address,
including zip code,and last four digits of the accountnumber,if any, of all entitiesholding prioriry claims againstthe debtor or the propertyof the
debtor,as ofthe dateofthe filing ofthe petition. Use a separatecontinuationsheetfor eachrype ofpriority and label eachwith the type ofpriority,

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor choosesto do so. Ifa minor child is a creditor,statethe child's initials and the nameand addressofthe child's parentor guardian,suchas
"A.B., a minor child, by John Doe, guardian."Do not disclosethe child's name.See,i I U.S.C. $112 and Fed. R. Bankr. P. 1007(m)'

    If any entity otherthan a spousein a joint casemay be jointly liable on a claim, place an "X" in the column labeled"Codebtor,"includethe entity
on the appropriatescheduleofcreditors, and completeScheduleH-Codebtors.Ifajoint petition is filed, statewhetherthe husband,wife, both of
them, or the marital communitymay be liable on eachclaim by placing an "H," "W," "J," or "C" in the column labeled"Husband,Wife, Joint, or
Community." If the claim is contingent,place an "X" in the column labeled"Contingent." If the claim is unliquidated,place an "X" in the column
labeled"Unliquidated." If the claim is disputed,place an "X" in the column labeled"Disputed."(You may needto place an "X" in more than one of
thesethree columns.)

    Reportthe total of claims listed on each sheetin the box labeled"subtotals"on eachsheet. Report the total of all claims listedon this Schedule
E in the box labeled"Total" on the last sheetof the completedschedule.Reportthis total also on the Summaryof Schedules.

    Reportthe total ofamounts entitled to prioriry listed on eachsheetin the box labeled"subtotals" on eachsheet.Report the total ofall amounts
entitledto priority listed on this ScheduleE in the box labeled"Totals" on the last sheetof the completedschedule. Individual debtorswith
primarily consumerdebtsreport this total also on the StatisticalSummaryof CertainLiabilities and RelatedData.

    Reportthe total ofamounts not entitled to priority listed on eachsheetin the box labeled"subtotals" on eachsheet. Reportthe total ofall
amountsnot entitledto priority listed on this ScheduleE in the box labeled"Totals" on the last sheetof the completedschedule.Individual debtors
with primarily consumerdebtsreport this total also on the StatisticalSummaryof CertainLiabilities and RelatedData.

V         Check this box ifdebtor has no creditorsholding unsecuredpriority claimsto report on this ScheduleE.

                                                                              arelistedon theattached
                                           box(es)belowif claimsin thatcategory
TYPES OF PzuOzuTY CLAIMS (Checktheappropriate                                                       sheets.)


tr       Domestic Support Obligations

   Claims for domesticsupportthat are owed to or recoverableby a spouse,former spouse,or child ofthe debtor, or the parent,legalguardian,or
responsiblerelativeof such a child, or a governmentalunit to whom sucha domesticsupportclaim has been assignedto the extentprovidedin
1 1U . S . C$. s 0 7 ( a X l ) .

I              ofcredit in an involuntarycas€
      Extensions

                                                                                            of thecasebutbeforetheearlierof the
                                                       or financialaffairsafterthecommencement
 Claimsarisingin theordinarycourseof thedebtor'sbusiness
                     or theorderfor relief.11U.S.C $ 507(a)(3).
          of a trustee
appointment

n                    and commissions
      w"g.r, salaries,

               andcommissions,
  Wages,salaries,             includingvacation, severance,andsickleavepayowingto employees   andcommissions    owingto qualiffing
                           up to $12,475*
          salesrepresentatives
independent                                per personearnedwithin  180 daysimmediately preceding
                                                                                               thefiling of the       petition,or the
                                                                                                               original
cessation
        ofbusiness,        occurredfirst,to theextentprovidedin I 1 U.S.C.$ 507(a)(a).
                   whichever
                          benefitplans
Ll Contributionsto employee

 Moneyowedto employeebenefitplansfor servicesrenderedwithin 180daysimmediatelyprecedingthe filing of the originalpetition,or the
        of business,
cessation                 occurredfirst,to theextentprovidedin 1l U.S.C.$ 507(aX5).
                  whichever


     * Amountsubjectto adjustmenton 4/0t / I 6, and everythreeyearsthereafterwith respectto casescommenced
                                                                                                         on or after thedateof adiustment
          Case 13-06250-LT11                Filed 06/16/13          Entered 06/16/13 23:45:59                   Doc 1       Pg. 18 of 36

B6E(Official          - Cont
          Form6E)(04/13)


     Inre Zouvas,Luke                                                           CaseNo.
                           Debtor                                                                 (tf known)




I     Certainfarmersandfishermen

     Claimsof certainfarmers          up to $6,150*perfarmeror fisherman,
                           andfishermen,                               againstthedebtor,asprovidedin I 1 U.S.C.$ 507(a)(6).


lJ Depositsby individuals

 Claimsofindividualsup to52,775*for depositsfor thepurchase,
                                                          lease,                            for personal,
                                                               or rentalofproperryor services                           use,that
                                                                                                       family,or household
                or provided.1I U.S.C.$ 507(a)(7).
werenot delivered


n     T"*., andCertainOther DebtsOwedto Governmental
                                                   Units

                                   owingto federal,state,andlocalgovernmental
                 duties,andpenalties
     Taxes,customs                                                        unitsassetforthin 11U.S.C.$ 507(a)(8),


fl    Co.-itrents to Maintainthe Capitalof an InsuredDepositoryInstitution

 Claimsbasedon commitmentsto theFDIC, RTC, Directorof theOfficeof Thrift Supervision,Comptrollerof the Currency,or Boardof Governors
of theFederalReserve     or theirpredecessors
                   System,                 or successors,to maintainthecapitalof an insureddepositoryinstitution.11U.S.C.$ 507
(aXe).


f]    CUi-, for Deathor PersonalInjury While DebtorWasIntoxicated

 Claimsfor deathor personalinjuryresultingfromtheoperation                                                    fromusingalcohol,a
                                                         of a motorvehicleor vesselwhilethedebtorwasintoxicated
drug,or another
              substance.I I U.S,C.$ 507(a)( l0).




* Amounts are subject to adjustment on 4/0 I / 16, and every three years thereafter with respect to casescomrnencedon or after the date of
adiustment.




                                                            1   continuationsheetsattached
             Case 13-06250-LT11                      Filed 06/16/13              Entered 06/16/13 23:45:59                        Doc 1         Pg. 19 of 36
B 6F (OfficialForm6F)(12107)

In re Zouvas,Luke                                                                                         CaseNo.
                                      Debtor                                                                                                 (if hown)


         SCHEDULEF. CREDITORSHOLDING UNSECUREDNONPRIORITY CLAIMS
    Statethename,mailingaddress,includingzipcode,andlastfourdigitsofanyaccount number,   ofall entitiesholdingunsecured
                                                                                                                      claimswithoutpriority against
thedebtororthepropertyofthedebtor,asofthedateoffilingofthepetition.   Thecompleteaccountnumberofanyaccountthedebtorhaswiththecredi
usefulto thetrusteeandthecreditorandmaybe providedif thedebtorchooses to do so. If a minorchildis a creditor,statethechild'sinitialsandthenameand
addressof thechild'sparentor guardian,
                                     suchas"A.8., a minorchild,by JohnDoe,guardian."    Do notdisclose  thechild'sname.See,I I U.S.C.$112andFed.
R. Bankr.P. 1007(m).Do not includeclaimslistedin SchedulesD andE. If all creditors will not fit on thispage,usethecontinuation sheetprovided.

   If anyentityotherthana spousein ajoint casemaybejointly liableon a claim,placean "X" in thecolumnlabeled"Codebtor,"includetheentityon the
                  of creditors,andcompleteScheduleH - Codebtors.If ajoint petitionis filed, statewhetherthe husband,wife, bothof them,or themarital
appropriateschedule
communitymaybeliableon eachclaimby placingffi "H,"            or "C" in thecolumnlabeled"Husband,      Wife,Joint,or Community."

     If theclaimis contingent,placean"X" in thecolumnlabeled"Contingent."If theclaimis unliquidated,
                                                                                                   placean"X" in thecolumnlabeled
                                                                                                                                "Unliquidated."
If the claim is disputed,placean "X" in the columnlabeled"Disputed." (You may needto placean "X" in morethanoneof thesethreecolumns.)

   Reportthe total ofall claimslistedon this schedulein the box labeled"Total" on the last sheetofthe completedschedule.Reportthis total alsoon the
Summaryof Schedules   and,if thedebtoris an individualwith primarilyconsumerdebts,reportthis totalalsoon the StatisticalSummaryof CertainLiabilities
andRelatedData..

   tl          s boxifldebtorhasno crediltors holdinsunsecured
        Checkthis                                            claimsIO                         on thisSchedule
                                                                                                            F
                                                      Irl


      CREDITOR'SNAME,                                                      DATE CLAIM WAS                                                    AMOUNT OF
                                                                                                                 F       rtl
      MAILING ADDRESS                                                       INCURREDAND                          z
                                                                                                                 rrl
                                                                                                                         F                     CLAIM
     INCLUDINGZIP CODE.                        F                         CONSIDERATION  FOR                      rtl               rrl

    AND ACCOUNTNUMBER                          rYl                             CLAIM.                            z                 F
                                                                                                                                   f-r
          (See inslructions above.\                                     IF CLAIM IS SUBJECTTO                    F
                                               O                           SETOFF,SO STATE.
                                                                                                                 z       j
                                                                                                                                   a

                                                                                                                 U       zD
 ACCOUNTNOXX8767
                                                                       1211Ito present,revolving
                                                                       lineof creditwithBarclays
  CardServices                                                         BankDelaware                                                               7,144.06
  PO Box13337
  P h i l a d e l p hPi aA,1 9 1 0 1
 ACCOTJNT
       NO.xx4102                                                       2008to present,revolving
 WellsFargo                                                            BusinessDirectlineof
 Attn:Customer
             Service                                                   credit                                                                    50,121.95
 PO Box348750
 Sacramento,
           CA95834

 ACCOUNTNO,                                                            2010 to present,revolving
                                                                       line of credit
 American
        Express                                                                                                                                   5.892.00
 PO Box360002
 Ft.Lauderdale,
             FL 33336
 ACCOUNTNO.                                                            NOTICEONLY- 01t2012,
  RobertThayer                                                         prof.liability
                                                                                    claim,San
  c/oStevenC. Glickman, Esq.                                           DiegoSuperior   CourtCase                X       X         X                      0.00
  9460Wilshire Blvd.,Ste330                                            # 37-2012-00097720,
  BeverlvHills,CA 90212                                                settferf as of OAl1411?

                                                                                                                             SubtotalD   $        6,315.01
   'l
        continuationsheetsattached                                                                                          TotalL       $
                                                                                (Use only on last pageof the completedScheduleF.)
                                                            (Report also on Summary ofSchedules and, ifapplicable, on the Statistical
                                                                                  Summary of Certain Liabilities and Related Data.)
           Case 13-06250-LT11               Filed 06/16/13          Entered 06/16/13 23:45:59                   Doc 1         Pg. 20 of 36
                           - Cont.
B 6F (OfficialForm6F)(12107)



Inre Zouvas.Luke                                                                           CaseNo.
                          Debtor                                                                                       (if known)

       SCHEDULEF. CREDITORSHOLDING UNSECUREDNONPRIORITY CLAIMS
                                                                 (ContinuationSheet)



                                             rrl

     CREDITOR'SNAME,                                            DATE CLAIM WAS                  F                            AMOI.JNTOF
      MAILING ADDRESS                                            INCURREDAND                    z
                                                                                                trl
                                                                                                       rr)
                                                                                                       F         rrl           CLAIM
                                      F
    iNCLUDING ZIP CODE,                                       CONSIDERATION  FOR                                 F
   AND ACCOI.INTNUMBER
                                      rrl
                                                                    CLAIM.
                                                                                                z      f-r
                                                                                                F                a
        (Seeinstructions
                      above.l
                                      -r
                                                             IF CLAIM IS SUBJECTTO              zr-
                                                                SETOFF.SOSTATE.                 O      Fl
                                                                                                       z
                                                                                                       h\




 ACCOLNTNO.
                                                            NOTICEONLY- 01t2012,
  SocialMediaVentures,lnc.                                  prof.liability
                                                                         claim,San
  c/o StevenC. Glickman,Esq.                                DiegoSuperior   CourtCase           X      X         X                     0.00
  9460 WilshireBlvd.,Ste 330                                # 37-2012-00097720,
  BeverlyHills,CA 90212                                     settledas of 06/14l13
 ACCOI.INTNO.                                               NOTICE   ONLY-01t2012,
 JosephB. Larocco                                           prof.liability
                                                                         claim,San
 c/o StevenC. Glickman,Esq.                                 DiegoSuperior   CourtCase           X      X         X                     0.00
 9460 WilshireBlvd.,Ste 330                                 # 37-2012-00097720,
 BeverlyHills,CA 90212                                      settledas of 06114113
 ACCOUNTNO                                                  051201
                                                                 3, declaratory
                                                                              relief
 lronshoreIndeminty,Inc.                                    andreimbursement claim,
 c/o CLYDE& CO US LLP                                       SanDiegoSuperior Court              X      X         X             250,000.00
 101 SecondSt..24thFloor                                    Case37-2013-00050289
 San Franeiecn CA q4105
 ACCOUNTNO




 ACCOLINTNO.




 Sheetno. 1 of 1         continuation    attached
                                    sheets                                                                  Subtotal)    $
 to ScheduleofCreditorsHoldinsUnsecured                                                                                        250,000.00
 NonpriorityClaims

                                                                                                           TotalD        t     g t3 , 1 5 8 . 0 1
                                                                    (Useonlyon lastpageofthe completed ScheduleF.)
                                                   (Reportalsoon SummaryofSchedulesand,ifapplicableon theStatistical
                                                                      Summary of CertainLiabilitiesandRelatedData)
Case 13-06250-LT11              Filed 06/16/13       Entered 06/16/13 23:45:59               Doc 1       Pg. 21 of 36

B 6C (OfficialFonn6G) (12107)

1n1s ZouVOs,
          Luke                                                           CaseNo.
           Debtor                                                                          (if known)


      SCHEDULEG. EXECUTORY CONTRACTSAND UNEXPIRED LEASES
       Describeall executorycontractsofany natureandall unexpiredleasesofreal or personalproperry.Includeanytimeshare
   interests.Statenatureofdebtor's interestin contract,i.e.,"Purchaser,""Agent," etc. Statewhetherdebtoris the lessoror
   lesseeofa lease.Providethenamesandcompletemailingaddresses        ofall otherpartiesto eachleaseor contractdescribed.If
   a minorchildis a parfyto oneof the leases or contracts,statethechild'sinitialsandthenameandaddress  of thechild'sparent
   or guardian,suchas"A.B.,a minorchild,by JohnDoe,guardian."      Do not disclosethechild'sname.See,I I U.S.C.$112and
   Fed.R. Bankr.P. 1007(m).


                                     contracts
n Cnectthisbox ifdebtorhasno executory                  leases.
                                             or unexpired


         NAME AND MAILING ADDRESS,                              DESCRIPTIONOF CONTRACT OR LEASEAND
             INCLUDING ZIP CODE,                                 NATURE OF DEBTOR'S INTEREST. STATE
   OF OTHER PARTIESTO LEASE OR CONTRACT.                        WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                   REAL PROPERTY.STATECONTRACT
                                                                NUMBER OF ANY GOVERNMENT CONTRACT.


  Mercedes-Benz       Services
               Financial                                     vehicleleasefor 2010 Mercedes-BGL550(23
  PO Box5209                                                 monthlypaymentsremaining)
             lL 60197
  CarolStream.


  Mercedes-Benz        Services
                Financial                                                                   S550V(22
                                                             vehicleleasefor 2011Mercedes-Benz
  PO Box 5209                                                monthlypayments  remaining)
  CarolStream.lL 60197
        Case 13-06250-LT11                Filed 06/16/13          Entered 06/16/13 23:45:59                Doc 1       Pg. 22 of 36
B 6H(OfficialForm6H)(12107)

In re Zouvas,Luke                                                                          CaseNo.
                Debtor                                                                                            (if known)


                                                       H - CODEBTORS
                                                SCHEDULE
    Providetheinformation  requested  concerning anypersonor entity,otherthana spouse  in ajoint case,thatis alsoliableon anydebtslistedby the
debtorin theschedules  ofcreditors. lncludeall guarantorsandco-signers.Ifthe debtorresidesor residedin a communitypropertystate,
commonwealth,   or tenitory(includingAlaska Arizona,Califomi4 ldaho,Louisiana,Nevada,New Mexico,PuertoRico,Texas,Washington,              or
Wisconsin)within theeight-yearperiodimmediatelyprecedingthecommencement        of the case,identifythe nameof the debtor'sspouseandof any
formerspousewho residesor residedwith the debtorin the communitypropertystate,commonwealth,        or tenitory. Includeall namesusedby the
nondebtorspouseduringthe eightyearsimmediatelyprecedingthe commencement        of this case.If a minor child is a codebtoror a creditor,statethe
child'sinitialsandthenameandaddressof the child'sparentor guardian,suchas "A.B., a minor child, by JohnDoe,guardian."Do not disclosethe
child'sname.See,I I U.S.C.$112andFed.R. Bankr.P. 1007(m).

M   Cnect thisbox if debtorhasno codebtors,
          Case 13-06250-LT11                      Filed 06/16/13   Entered 06/16/13 23:45:59                 Doc 1     Pg. 23 of 36
B6I (OfficialForm 6I) (12107)

    In re Zouvas,Luke                                                                    CaseNo.
                  Debtor                                                                                              (if known)


                   SCHEDULEI. CURRENTINCOME OF INDIVIDUAL DEBTOR(S)
    Thecolumnlabeled"Spouse"mustbe completed        in all casesfiled by joint debtorsandby everymarrieddebtor,whetheror not ajoint petitionis
    filed, unlessthe spousesareseparated anda joint petitionis not filed. Do not statethenameof anyminor child. The average
                                                                                                                          monthlyincome
    calculatedon this form may differ from the currentmonthlyincomecalculatedon Form 22A,228, or 22C.


      Debtor'sMarital                                           DEPENDENTSOF DEBTORAND SPOUSE
      Status:
      married                      RELATIONSHIP(S):
                                                son, daughter                                                        AGE(S):

      Employment:                                      DEBTOR                                                SPOUSE
      Occupation
               AttorneVat LaW                                               homemaker
      r\aIIrtrur Drlrpruy-I
                                  sglf-gmploygd                             nla
                 w,r,PrvJi   we
                                                                            nla
           of Employer
      Address       2368 SecondAvenue
                    San Diego,CA 92101

    INCOME:(Estimate         or projectedmonthlyincomeat time
                    of average                                             DEBTOR                     SPOUSE
               casefiled)
                                                                           $      23,561.00          $            0.00
    l. Monthlygrosswages,salary,andcommissions
        (Prorate
               if notpaidmonthly)                                          $             0.00         s           0.00
    2. Estimate
              monthlyovertime

    3. SUBTOTAL                                                                     23,561.00                        0.00
                                                                            $                            $
    4. LESSPAYROLLDEDUCTIONS
       a. Payrolltaxesandsocialsecurity                                                              $            0.00
       b. Insurance                                                                                  $
       c. Uniondues                                                                                  $            0.00
       d. Other(Specify):                                                                            $            0.00

    5 . SUBTOTALOF PAYROLLDEDUCTIONS                                                                                 0.00
    6. TOTAL NET MONTHLYTAKE HOME PAY                                                                                0.00
    7 . Regularincomefrom operation  ofbusinessor professionor farm                      0.00        $            0.00
          (Attachdetailedstatement)
                                                                                         0.00        $            0.00
    8 . Incomefromrealproperty
    9 . Interestanddividends                                                             0.00        $            0.00
    1 0 .Alimony,maintenance   or supportpaymentspayableto thedebtorfor
                                                                                                     $            0,00
            thedebtor'suseor thatofdependentslistedabove
    l l . Socialsecurityor govemment assistance
        (Specifo):                                                                                   $            0.00
    12. Pensionor retirementincome
    1 3 .Other monthly income                                              $             0.00
           (Specifl):                                                      $             0.00
                                                                                           0.00       $              0.00
    14. SUBTOTALOF LINES7 THROUGH13
                                                                            I
    15. AVERAGEMONTHLYINCOME(Add amounts
                                       on lines6 and14)                     $       19,085.00 $                      0.00

    16. COMBINEDAVERAGEMONTHLY INCOME:(Combinecolumn
    totalsfrom line 15)                              (Reportalsoon Summaryof Schedules  and,if applicable,
                                                     on StatisticalSummaryof CertainLiabilitiesandRelatedData)

    17. Describe                   in incomereasonably
                         or decrease
               anyincrease                                    to occurwithintheyearfollowingthefiling of thisdocument:
                                                    anticipated
          Case 13-06250-LT11                    Filed 06/16/13                Entered 06/16/13 23:45:59                Doc 1        Pg. 24 of 36
B6J (OfficialForm 6J)(12107)

            1nrs Zouvas,Luke                                                                              CaseNo.
                         Debtor                                                                                                 (if known)


             SCHEDULEJ - CURRENT EXPENDITURESOF INDIVIDUAL DEBTOR(S)
    Completethisscheduleby estimatingtheaverageor projectedmonthlyexpenses
                                                                         of thedebtorandthedebtor'sfamily at time casefiled. Prorateanypaymentsmadebi-
weekly,quarterly,semi-annually,
                             or annuallyto showmonthlyrate.Theaveragemonthlyexpenses calculatedon this form maydiffer from thedeductionsfrom income
allowedon Fonn2ZAor 22C.

          Checkthisbox ifajoint petitionis filedanddebtor'sspouse
                                                                maintains
                                                                        a separate
                                                                                householdComplete
                                                                                                a separate     ofexpenditures
                                                                                                        schedule           labeled"Spouse."

                          (includelot rentedfor mobilehome)
                    payment
1.Rentor homemortgage                                                                                                                        s   8,775.00
                                                                          /
                    taxesincluded?
    a. Are realestate                           Yes-             No -----T
                                                                        V
    b. Is propertyinsurance
                          included?             Yes_             No     V
2. Utilities: a. Electricity
                           andheatingfuel                                                                                                    s    750.00
              b. Waterandsewer                                                                                                               $    11 0 . 0 0
              c Telephone                                                                                                                    $    400.00
              d.otherinternetbundle                                                                                                          $    334.00
3 Home maintenance(repairsand upkeep)                                                                                                        s    450.00
4. Food                                                                                                                                      s   1,000.00
5 Clothing                                                                                                                                   $      0.00
6. Laundry and dry cleaning                                                                                                                  s    400.00
7. Medical and dentalexpenses                                                                                                                s      0.00
8. Transportation(not including car payments)                                                                                                $    400.00
9. Recreation,clubs and entertainment,newspapers,magazines,etc                                                                               $     95.00
l0.Charitablecontributions                                                                                                                   $      0.00
1l.lnsurance(not deductedfrom wagesor included in home mortgagepayments)
          a. Homeowner'sor renter's                                                                                                          $     218.00
          b Life                                                                                                                             $     300.00
          c. Health                                                                                                                          s       0.00
          d. Auto                                                                                                                            $     200.00
          e. Other                                                                                                                           $       0.00
12.Taxes(not deductedfrom wagesor included in home mortgagepayments)
(Speci!) realproperty     taies for residence                                                                                                g   1,000.00
            payments:
13.Installment     (ln chapter11,12,andl3 cases,                to be includedin theplan)
                                               do notlist payments
          a. Auto                                                                                                                            s   2,951.00
          b. Other                                                                                                                           s      0.00
          c. Other                                                                                                                           $      0.00
                    andsupportpaidto others
14.Alimony,maintenance,                                                                                                                      $      0.00
15.Payments                               notlivingat yourhome
           for supportofadditionaldependents                                                                                                 $      0.00
t6 Regularexpensesfromoperation ofbusiness,        or farm(attachdetailed
                                         profession,                    statement)                                                                  0.00
17.Other                                                                                                                                     $      0.00
18. AVERAGE MONTHLY EXPENSES(Total lines l-17 Report also on Summaryof Schedulesand,
                                                                                                                                         $       17,383.00
    if applicable,on the StatisticalSummaryof Certain Liabilities and RelatedData.)
19. Describeany increaseor decreasein expendituresreasonablyanticipatedto occur within the year following the filing ofthis document:




20 STATEMENT OF MONTHLY NET INCOME
    a. Averagemonthly incomefrom Line l5 of ScheduleI                                                                                        $ 19,085.00
    b Average monthly expensesfrom Line 18 above                                                                                             s 17,383.00
    c. Monthly net income(a. minus b.)                                                                                                       g 1,700.00
            Case 13-06250-LT11                                              Filed 06/16/13                               Entered 06/16/13 23:45:59                                                     Doc 1                 Pg. 25 of 36
            (OfficialForm6 - Declararron)
86 Declaration                        ( I 2/07)

                  1n,. Zouvas,Luke                                                                                                                             Case No.
                                                     Debtor                                                                                                                                        (if known)




                                   DECLARATION CONCERNINGDEBTOR'SSCHEDULES

                                                         DECLARATIONI,JNDERPENALTYOF PERJURYBY INDIVIDUAL DEBTOR


            underpenalty
    I declare          ofperjurythatI have read the foregoing summaryand schedules,consisting of_                                                                                  sheets,and that they Lre true and correct to the best of
my knowledge, information,
                        andbelief.


Date0611412013                                                                                                                        Signature:/s/ LukeZouvas


Dare0611412013                                                                                                                        Signature:/s/ LeenaZouvas
                                                                                                                                                                                       (JointDebtor,

                                                                                                                                             [fjoint case,bothspouses
                                                                                                                                                                    mustsign]


                                  DECLARATION AND SIGNATURE OF NON-ATTORNEYBANKRUPTCY PETITION PREPARER (Seelt U.S.C.S ll0)

  I d e c l a r e u n d e r p e n a l t y o f p e r j u r y t( hl )ot at :m a b a n k r u p t c y p e t i t i o n p r e p a r e r a s d e f i n e d i n l l U . S
                                                                                                                                                                $1C1 0 ;( 2 ) I p r e p a r e d t h i s d o c u r n e n t f o r c o m p e n s a t i ohnam
                                                                                                                                                                                                                                                        v edp r o v i d e d
the debtorwith a copyof this documentand lhe noticesand information requiredunderI I U S C. $$ I I 0(b), I 10(h) and342(b); and,(3) if rulesor guidelineshavebeeri
promulgatedpursuantto             ll U SC $ 110(h)settingamaximum                                feeforseruiceschargeablebybankruptcypetitionpreparers,I                                       havegiventhedebtornoticeofthemaximun
amountbeforepreparingany documentlor filing for a debloror acceptingBnyfeefrom dredebtor,as requiredby lhal section

  n/a
Prinledor TypedNameandTitle,ifany,                                                                              SocialSecurityNo.
ofBankruptcyPetitionPreparer                                                                                    (RequiredbyI I U.S.C.S I 10.)

[thebankruptcypetitionPteParerisnotanindiyidiaI,sta!ethename,litle(iIany).address,andsociaIsecudtynumbefo|theofcer'principal,respoibIe
|9ho signsthisdocument




 Signature of Bankruptcy Petitron Preparer



NamesandSociaISecuritynumbersofa|lotheTindivtdualswhopreparedorassistedinpIeparingthisdocument'un|essthebankruptcypetjtionpreparerisnotanindividtl:

lfmore than one person prepured this documenl, attach additional signed sheetsconlorming to the appropriate Olficial Formfor                                                                    each person,



Abankrplcypetirionpreparer,s!ailuretoconplywi|h|heprovisionsoftitlel]andtheFederalRulesofBankrptcyProceduremayresu
,8 us.c.s 1J6,


                        DECLARATIONUNDERPENALTY OF PERJURYON BEIIALF OF A CORPORATIONOR PARTNERSHIP


    I. the                                       [lhe presidentor other officer or an authorizedagent ofthe corporation or a member or an auftorized agent ofthe
partnershipI of the                                         [corporation or partnership]namedas debtor in this case,declare under penalty qfp€rjury that I have
readthe foregoing sunlmaryand schedules,consrstingof_-      sheets('l'olal shown on summarypage plus /), and that they are true and conect to the best ofmy
knowledge,infonnation,and belief.


Date
                                                                                                                       Signature:          nla


                                                                                                                                            [Print or type nameof individual signingon behalfofdebtor.]


[An individual signing on behatfofa partnership or corporation must indicale posilion or relalionship to debtor.]


P e n a l t y J o r m a k i n g a l a l s e s t a t e m e n t o r c o n c e a l i n g p r o p eFritnye: o f u p t o $ 5 0 0 , 0 0 0 o r i m p r i s o n m e n t f o r u p t o 5 y e a r s o r b o t hl.8 U . S . C . $ $ l 5 2 a n d 3 5 7 l .
Case 13-06250-LT11                Filed 06/16/13            Entered 06/16/13 23:45:59                   Doc 1        Pg. 26 of 36




B7 (OfficialFonn7) (04/13)



                                UNITED STATESBANKRUPTCY COURT
                                           SouthernDistrictof California



ln re: Zouvas.Luke                                                     CaseNo.
                                                                                            (ifknown)




                                   STATEMENT OF FINANCIAL AFFAIRS

          This statementis to be completedby everydebtor. Spouses    filing a joint petitionmay file a singlestatementon which
theinformation  for bothspouses  is combined.If thecaseis filedunderchapter12or chapter13,a marrieddebtormustfurnish
information for bothspouses  whetheror not ajoint petitionis filed,unlessthespouses    areseparated  andajoint petitionis not
filed. An individualdebtorengaged    in businessasa soleproprietor, partner,familyfarmer,or self-employed     professional,
shouldprovidetheinformationrequested      on thisstatement
                                                         concerning   all suchactivitiesaswell astheindividual's   personal
affairs.To indicatepayments,   transfersandthelike to minorchildren,statethechild'sinitialsandthenameandaddress         of the
child'sparentor guardian, suchas"A.B.,a minorchild,by JohnDoe,guardian."         Do not disclosethechild'sname.See,11U.S.C.
$112andFed.R. Bankr.P. 1007(m).

        Questions  I - 18areto be completed by all debtors.Debtorsthatareor havebeenin business, asdefinedbelow,also
mustcomplete            19- 25.  If the answer
                                             to an           question
                                                    applicable        is        mark  the box labeled I'None.ilIf
             Questions                                                   "None,r'
additionalspaceis neededfor the answerto anyquestion,useand attacha separate sheetproperlyidentifiedwith the casename,
casenumber(if known),andthenumberof thequestion.


                                                          DEFINITIONS

          "ln business." A debtoris "in business"for thepurposeof this form if the debtoris a corporationor partnership.An
individualdebtoris "in business" for thepurposeof thisformif thedebtoris or hasbeen,within six yearsimmediately    preceding
thefiling ofthis bankruptcy case,anyofthe following:an officer,director,managing     executive,or ownerof5 percentor moreof
thevotingor equitysecuritiesofa corporation;a partner,otherthana limitedpartner,ofa partnership;a soleproprietoror self-
employed  full-timeor part-time.An individualdebtoralsomaybe"in business"       for thepurposeof thisformif thedebtor
engages in a trade,business,or otheractivity,otherthanasan employee,   to supplement   incomefrom thedebtor'sprimary
employment.

             "lnsider."Theterm"insider"includesbut is not limitedto: relatives       ofthe debtor;generalpartners  ofthe debtorand
theirrelatives;       corporations                                                                                  andanypersons
                                      ofwhich thedebtoris an officer,director,or personin control;officers,directors,            in
controlof a corporatedebtorandtheir relatives;affiliatesof thedebtorandinsidersof suchaffiliates;andanymanagingagentof
t h ed e b t o r i. 1 U . S . C$, 1 0 1 ( 2 )( ,3 1 ) .



          1.   Income from employment or operation of business

None      State the gross amount ofincome the debtor has received from employrnent, ffade, or profession, or from operation of
!         the debtor's business,including part-time activities either as an employee or in independent trade or business,from the
          beginning ofthis calendar year to the date this casewas commenced. State also the gross amounts received during the
          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
          the basis of a fiscal rather than a calendar year may report fiscal year income. Identif' the beginning and ending dates
          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouseseparately. (Manied debtors filing
          under chapter 12 or chapter 13 must state income ofboth spouseswhether or not ajoint petition is filed, unless the
          spousesare separatedand ajoint petition is not filed.)

          AMOUNT                                                  SOURCE

         $ 11 0 , 0 0 0 . 0 0               201t husbandself-employment
         $308,205.00                        2012 husbandself-employment
         $117,805.00                                                 (YTD)
                                            2013 husbandself-employment
Case 13-06250-LT11                 Filed 06/16/13           Entered 06/16/13 23:45:59                   Doc 1        Pg. 27 of 36



87 (OfficialForm7) (04113)

          2. Incomeotherthan from employmentor operationof business

None       Statethe amountof incomereceivedby the debtorotherthanfrom employment,       trade,profession,operationof the
a         debtor'sbusiness   duringthe two years immediatelyprecedingthecommencement      of this case.Giveparticulars.If a
          joint petitionis frled,stateincomefor eachspouseseparately.(Marrieddebtorsfiling underchapter12 or chapterl3
          muststateincomefor eachspouse     whetheror not ajoint petitionis filed,unlessthespouses  areseparatedandajoint
          petitionis not filed.)

          AMOUNT                                                   SOURCE




          3.   Payments to creditors

          Complete a. or b., as appropriate, and c,
None
n         a. Individual or joint debtor(s) with primarily consumerdebts: List all payments on loans, installment purchasesof
          goods or services,and other debts to any creditor made within 90 days immediately preceding the commencementof
          this caseunless the aggregatevalue ofall property that constitutesor is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any paymentsthat were made to a creditor on account of a domestic support obligation or
          as part ofan altemativerepaymentscheduleunder a plan by an approvednonprofit budgetingand credit counseling
          agency. (Manied debtors filing under chapter I 2 or chapter 13 must include payments by either or both spouses
          whetheror not a joint petition is filed, unlessthe spousesare separatedand ajoint petition is not filed.)

          NAME AND ADDRESSOF CREDITOR                             DATESOF                   AMOTINT             AMOIINT
                                                                  PAYMENTS                  PAID                STILL OWING
       Mercedes-BenzFinancial
                           Services
       PO Box5209                                                  04t2013,              $1,378.00/mo              $30,316.00
                  lL 60197
       CarolStream.                                                05t2013
Nonc

d         b. Debtor whose debts are not primarily consumer debts: List eachpayment or other transfer to any creditor made
          within 90 days immediately preceding the commencementof the caseunless the aggregatevalue of all property that
          constitutesor is affected by such transfer is less than $6,225'. If the debtor is an individual, indicate with an asterisk
          (*) any paymentsthat were made to a creditor on account of a domestic support obligation or as part of an altemative
          repaymentscheduleunder a plan by an approved nonprofit budgeting and credit counseling agency. (Manied debtors
          filing under chapterl2 or chapter13 must include paymentsand other transfersby either or both spouseswhetheror
          not ajoint petition is filed, unlessthe spousesare separatedand ajoint petition is not filed.)

          NAME AND ADDRESSOF CREDITOR                             DATESOF                   AMOUNT              AMOUNT
                                                                  PAYMENTS/                 PAID OR             STILL
                                                                  TRANSFERS                 VALUE OF            OWING
                                                                                            TRANSFERS




           Amount subject to adjustment on 4/01/16, and every threeyears thereafterwith respect to casescommencedon or
after the date of adjustment.
Case 13-06250-LT11            Filed 06/16/13          Entered 06/16/13 23:45:59                 Doc 1       Pg. 28 of 36



87 (OfficialForm7) (04113)


g      c. All debtors: List all paymentsmadewithin oneyear immediatelyprecedingthe commencement        of this case
       to or for thebenefitof creditorswho areor wereinsiders.(Marrieddebtorsfiling underchapterl2 or chapterl3 must
       includepaymentsby eitheror both spouses   whetheror not ajoint petitionis filed, unlessthe spousesareseparated
                                                                                                                    and
       ajoint petitionis not filed.)

       NAMEANDADDRESSOFCREDITOR                        DATEOF             AMOUNT              AMOUNT
       AND RELATIONSHIPTO DEBTOR                       PAYMENT            PAID                STILL OWING




       4. Suitsand administrativeproceedings,       garnishments
                                           executions,         and attachments

None   a. List all suitsandadministrativeproceedingsto which thedebtoris or wasa partywithin oneyear immediately
n      precedingthe filing of this bankruptcycase.(Manieddebtorsfiling underchapterl2 or chapterl3 mustinclude
       information  concerning eitheror bothspouseswhetheror not ajoint petitionis filed,unlessthespouses
                                                                                                        areseparated
       andajoint petitionis not filed.)

       CAPTIONOFSUIT                NATUREOF                COURTORACENCY                     STATUSOR
       AND CASENUMBER               PROCEEDING              AND LOCATION                      DISPOSITION
 Thayer,et al.v. Zouvas civilsuit                             SanDiegoSuperior                 setled
 Case# 37-2012-00097720                                       Court
 lronshore
         v. Zouvas      civilsuit                             SanDiegoSuperior                 pending
 Case# 37-2013-00050288                                       Coutl

None             all propertythathasbeenattached,
       b. Describe                                 garnished   or seizedunderanylegalor equitable  process withinone
g      year immediatelyprecedingthecommencement     of thiscase.(Marrieddebtorsfiling underchapter12or chapterl3
       mustincludeinformationconceming  propertyof eitheror bothspouses    whetheror not a joint petitionis filed,unless
       thespousesareseparated andajoint petitionis not filed.)

       NAME AND ADDRESS                                     DATE OF                           DESCRIPTION
       OF PERSONFORWHOSE                                    SEIZURE                           AND VALUE
       BENEFITPROPERTYWAS SEIZED                                                              OF PROPERTY




                                and returns
                     foreclosures
       5. Repossessions,

None   List all properlythat hasbeenrepossessed    by a creditor,sold at a foreclosuresale,transferredthrougha deedin lieu
V      of foreclosureor returnedto theseller,within oneyearimmediately        precedingthecommencement     of thiscase.
       (Marrieddebtorsfiling underchapter12 or chapter13 mustincludeinformationconcemingpropertyof eitheror both
       spouses   whetheror not ajoint petitionis filed,unlessthespouses     areseparatedanda joint petitionis not filed.)

       NAME AND ADDRESS                           DATE OF REPOSSESSION,                       DESCRIPTION
       OFCREDITORORSELLER                         FORECLOSURESALE,                            ANDVALUE
                                                  TRANSFERORRETURN                            OFPROPERTY
Case 13-06250-LT11              Filed 06/16/13           Entered 06/16/13 23:45:59                  Doc 1       Pg. 29 of 36



B7 (OfficialForm7) (04113)

                      and receiverships
         6. Assignments

         a, Describeanyassignment    of propertyfor thebenefitof creditorsmadewithin 120 days immediatelyprecedingthe
g        commencement    of this case.(Marrieddebtorsfiling underchapter12 or chapterI 3 mustincludeanyassignment    by
         eitheror both spouses                                                                     andajoint petitionis not
                                whetheror not a joint petitionis filed,unlessthe spousesareseparated
         fi1ed.)

         NAME AND ADDRESS                  DATE OF                            TERMSOF
         OF ASSIGNEE                       ASSIGNMENT                         ASSIGNMENT
                                                                              OR SETTLEMENT




No n e   b. List all properfywhichhasbeenin thehandsofa custodian,  receiver,
                                                                           or court-appointed  officialwithinoneyear
g        immediately   preceding
                               the commencement   of thiscase.(Marrieddebtorsfiling underchapterl2 or chapter13must
         includeinformationconcerning properfyof eitheror bothspouses whetheror not a joint petitionis filed,unlessthe
         spouses  areseparatedandajoint petitionis not filed.)

         NAME AND ADDRESS                  NAME AND LOCATION                  DATEOF              DESCRIPTION
         OF CUSTODIAN                      OF COURT                           ORDER               AND VALUE
                                           CASETITLE & NUMBER                                     OfPROPERTY




         7,   Gifts

None     List all gifts or charitablecontributionsmadewithin one year immediatelyprecedingthe commencementof this case
tr       exceptordinary and usual gifts to family membersaggregatinglessthan $200 in value per individual family member
         and charitablecontributions aggregatinglessthan $100 per recipient. (Married debtorsfiling under chapterl2 or
         chapterI 3 must include gifts or contributionsby eitheror both spouseswhetheror not a joint petition is filed, unless
         the spousesare separatedand ajoint petition is not filed.)

         NAME AND ADDRESS                  RELATIONSHIP                       DATE                DESCzuPTION
         OFPERSON                          TO DEBTOR,                         OF GIFT             AND VALUE
         OR ORGANIZATION                   IF ANY                                                 OF GIFT

  Kid'sFirstSunsetView                       none                            03t25t2012            $ 1 0 ,810 . 0 0



         8. Losses

None     List ail lossesfrom fire, theft,othercasualtyor gamblingwithin oneyear immediatelyprecedingthe commencement
g        of thiscaseor sincethe commencement      of this case.(Manieddebtorsfiling underchapterl2 or chapterl3 must
         includelossesby eitheror bothspouses    whetheror not ajoint petitionis filed,unlessthespouses          anda
                                                                                                      areseparated
         joint petitionis not filed.)

         DESCRIPTION                            OF CIRCUMSTANCES
                                      DESCRIPTION                AND,IF                           DATE
         AND VALUE OF                 LOSSWAS COVEREDIN WHOLEOR IN PART                           OF LOSS
         PROPERTY                     BY INSURANCE,GIVE PARTICULARS
Case 13-06250-LT11              Filed 06/16/13           Entered 06/16/13 23:45:59                  Doc 1       Pg. 30 of 36



87 (Official Form 7) (04/13)                                                                                                   5

         9. Paymentsrelatedto debtcounseling
                                           or bankruptcy

gl"      List all paymentsmadeor propertytransfenedby or on behalfof thedebtorto anypersons,includingattorneys,
                                                                                                              for
U        consultationconcemingdebtconsolidation, reliefunderthebankruptcylaw or preparationofa petitionin bankruptcy
         within oneyear immediatelyprecedingthe commencement   of this case.

         NAMEANDADDRESS                    DATEOFPAYMENT,                     AMOUNTOFMONEYOR
         OF PAYEE                          NAME OF PAYERIF                    DESCRIPTION
                                                                                        AND
                                           OTHERTHANDEBTOR                    VALUEOFPROPERTY

    Edward  J. Fetzer,
                    Esq.                     03/13,04113,06113                  $15,000.00
    creditocounselor                         0512013                            $ZO.OO



         10. Other transfers
None

d         a. List all otherproperty,otherthanpropertytransfenedin the ordinarycourseofthe businessor financialaffairsof
         thedebtor,transferred eitherabsolutelyor assecuritywithin two yearsimmediatelyprecedingthe commencement    of
         this case.(Manied debtorsfiling underchapterl2 or chapterl3 mustincludetransfersby eitheror both spouses
         whetheror not ajoint petitionis filed,unlessthespousesareseparated andajoint petitionis not filed.)

         NAME AND ADDRESS                            DATE                     DESCRIBEPROPERTY
         OF TRANSFEREE,                                                       TRANSFERREDAND
                    TO DEBTOR
         RELATIONSHIP                                                         VALUE RECEIVED


None

d        b. List all propertytransfened by thedebtorwithinten yearsimmediately preceding            of thiscase
                                                                                       thecommencement
                         trustor similardeviceof whichthedebtoris a beneficiary.
         to a self-settled

         NAME OF TRUSTOR OTHER                       DATE(S)OF                AMOUNT OF MONEY OR DESCRIPTION
         DEVICE                                      TRANSFER(S)              AND VALUE OF PROPERTYORDEBTOR'S
                                                                              TNTERESTIN PROPERTY




         11. Closedfinancialaccounts

Nonc     List all financialaccountsandinstruments     heldin the nameof thedebtoror for the benefitof the debtorwhich were
d        closed,sold,or otherwisetransferred    within oneyear immediatelyprecedingthe commencement         of this case.Include
         checking,savings,or otherfinancialaccounts,certificatesofdeposit,or otherinstruments;        sharesandshareaccounts
         heldin banks,creditunions,pensionfunds,cooperatives,       associations,brokeragehousesandotherfinancial
         institutions.(Marrieddebtorsfiling underchapter12 or chapter13 mustincludeinformationconcerningaccountsor
         instruments  heldby or for eitheror both spouses   whetheror not ajoint petitionis filed, unlessthe spouses  are
         separated   andajoint petitionis not filed.)

         NAME AND ADDRESS                  TYPE OF ACCOT]NT,LAST FOUR                             AMOUNT AND
         OF INSTITUTION                    DIGITSOF ACCOUNTNUMBER.                                DATE OF SALE
                                           AND AMOUNT OF FINAL BALANCE                            OR CLOSING
Case 13-06250-LT11           Filed 06/16/13         Entered 06/16/13 23:45:59                Doc 1       Pg. 31 of 36



87 (Official
           Form7) (04113)                                                                                            6

       12, Safedepositboxes

None   List eachsafedepositor otherbox or depository  in whichthedebtorhasor hadsecurities,cash,or othervaluables
W      withinoneyearimmediately   preceding ih. .o..encement of thiscase.(Manieddebtorsfiling underchapter12or
       chapterI 3 mustincludeboxesor depositories                        whetheror not a joint petitionis filed,unless
                                                   of eitheror bothspouses
       thespouses areseparated anda joint petitionis notfiled.)

       NAMEANDADDRESS NAMESANDADDRESSES DESCRIPTION DATEOFTRANSFER
       OFBANKOR        OFTHOSEWITHACCESS OF         ORSURRENDER.
       OTHERDEPOSITORY TOBOXORDEPOSITORY CONTENTS   IFA}ry




       13. Setoffs

None   List all setoffsmadeby any creditor,includinga bank,againsta debtor depositofthe debtorwithin 90 dayspreceding
g      thecommencement     of this case.(Manied debtorsfiling underchapterl2 or chapterl3 mustincludeinformation
       concerning  eitheror bothspouses  whetheror not ajoint petitionis filed,unlessthespouses          andajoint
                                                                                              areseparated
       petitionis not filed,)

       NAMEANDADDRESS                            DATEOF                               AMOUNT
       OF CREDITOR                               SETOFF                               OF SETOFF




       14. Propertyheldfor anotherperson

None   List all propertyownedby anotherpersonthatthedebtorholdsor controls.
a
       NAME AND ADDRESS                          DESCRIPTIONAND                        LOCATION OF PROPERTY
       OF OWNER                                  VALTIEOF PROPERTY




       15. Prior addressof debtor

None

fl     If debtorhasmovedwithin threeyearsimmediatelypreceding              of thiscase,list all premises
                                                             thecommencement
       whichthedebtoroccupiedduringthatperiodandvacated                       of thiscase.If a joint petitionis
                                                        priorto thecommencement
       filed,reportalsoanyseparate     of eitherspouse.
                                 address

       ADDRESS                                   NAMEUSED                              DATESOFOCCUPANCY
Case 13-06250-LT11             Filed 06/16/13           Entered 06/16/13 23:45:59                 Doc 1        Pg. 32 of 36



87 (OfficialForm7) (04113)

                  and Former Spouses
        16. Spouses

None    If thedebtorresidesor residedin a communityproperlystate,commonwealth,or tenitory (includingAlaska,Artzona,
        Califomia,Idaho,Louisiana, Nevada,NewMexico,PuertoRico,Texas,Washington,      or Wisconsin) within eight
V
        yearsimmediately preceding  thecommencement  of thecase,identif thenameof thedebtor'sspouseandof
        anyformerspouse  who residesor residedwith thedebtorin thecommunitypropertystate.

        NAME



        17. EnvironmentalInformation.

        Forthepurposeofthis question,                     apply:
                                    thefollowingdefinitions

        "EnvironmentalLaw" meansanyfederal,state,or localstatuteor regulation   regulating pollution,contamination,
                          or toxic substances,
               of hazardous
        releases                              wastesor materialinto the air, land,soil, surfacewater,groundwater,
                                                                                                                or
                                                                      regulatingthecleanupof thesesubstances,
        othermedium,including,but not limitedto, statutesor regulations                                       wastes'
        or material,

        "Site"meansanylocation,facitity,or propertyasdefinedunderanyEnvironmentalLaw, whetheror not presentlyor
        formerlyownedor operatedby thedebtor,including,but not limitedto, disposalsites.

        "Hazardous                                         waste,hazardous
                  Material"meansanythingdefinedasa hazardous                                  hazardous
                                                                                 toxicsubstance,
                                                                         substance,
               pollutant,or contaminant
        material,                                                     Law.
                                     or similartermunderanEnvironmental


None    a. List thenameandaddress of everysitefor whichthedebtorhasreceived    noticein writingby a governmental
d       unitthatit maybeliableor potentiallyliableunderor in violationof an EnvironmentalLaw. Indicatethe
        governmental unit,thedateof thenotice,and,if known,theEnvironmental   Law:

        SITENAME                     NAME AND ADDRESS                        DATE OF            ENVIRONMENTAL
        AND ADDRESS                  OF GOVERNMENTALUNIT                     NOTICE             LAW




        b. List the name and addressof every site for which the debtor provided notice to a governmental unit of a release
H"      of HazardousMaterial. Indicate the governmentalunit to which the notice was sent and the date of the notice.

        SITENAME                     NAME AND ADDRESS                        DATE OF            ENVIRONMENTAL
        AND ADDRESS                  OF GOVERNMENTALUNIT                     NOTICE             LAW



N one   c. List all judicialor administrative
                                           proceedings,                 or orders,underanyEnvironmental
                                                      includingsettlements                              Lawwith
a       respect to whichthedebtoris or wasa parfy. Indicatethenameandaddress                 unit thatis or wasa parfy
                                                                             of thegovernmental
        to theproceeding,   andthedocketnumber.

        NAME AND ADDRESS                                 DOCKETNUMBER                            STATUSOR
        OF GOVERNMENTALTINIT                                                                     DISPOSITION




        18. Nature,locationand nameof business

None    a. Ifthe debtoris an individual,list thenames,addresses,                     numbers,natureofthe businesses,
                                                                taxpayer-identification
tr      andbeginningandendingdatesofall businesses     in which thedebtorwasan officer,director,partner,or managing
        executiveof a corporation,partnerin a partnership,soleproprietor,or wasself-employedin a trade,profession,
                                                                                                                 or
 Case 13-06250-LT11                Filed 06/16/13          Entered 06/16/13 23:45:59                  Doc 1        Pg. 33 of 36



  87 (OfficialForm7) (04113)

           otheractivityeitherfull- or part-timewithin six yearsimmediately
                                                                         preceding
                                                                                 thecommencement of thiscase,or in
           whichthedebtorowned5 percentor moreof thevotingor equitysecuritieswithin six years immediatelyprecedingthe
           commencement   of this case.

           If thedebtoris a partnership,list the names,addresses,                   numbers,natureof thebusinesses,
                                                               taxpayer-identification                            and
           beginningandendingdatesof all businesses   in whichthedebtorwasa partneror owned5 percentor moreof the
                                     within six yearsimmediately
           votingor equity securities,                           preceding
                                                                         thecommencement  of thiscase.

                                       list thenames,addresses,
           Ifthe debtoris a corporatiozr,                                        numbers,
                                                              taxpayer-identification    natureofthe businesses,and
           beginning andendingdatesof all businessesin whichthedebtorwasa partneror owned5 percentor moreof the
                                   within six yearsimmediately
           votingor equitysecurities                          preceding
                                                                      thecommencement  of thiscase.

           NAME          LAST FOUR DIGITS              ADDRESS NATUREOF BUSINESS                   BEGINNINGAND
                         OFSOCIAL-SECURITY                                                         ENDINC DATES
                         OROTHERINDIVIDUAL2368
                         TAXPAYER-I.DNO.   Second                          law office                       to
                                                                                                      0712010
                         (lTrNYCOMPLETEEIN Avenue                                                     present
ZouvasLaw Group,            27-3ozsz47     San Diego,
PC                                         cA92101

  None     b. Identifu any businesslisted in responseto subdivisiona., above,that is "single assetreal estate"as
  g                       $ ror.
                 rr i-r.s.c.
           definedin
           NAME                                        ADDRESS




            The following questionsare to be completedby everydebtor that is a corporationor partnershipand by any individual
  debtorwho is or has been,within six years immediatelyprecedingthe commencementof this case,any of the following: an
  officer,director, managingexecutive,or owner ofmore than 5 percentofthe voting or equity securitiesofa corporation;a
  partner,otherthan a limited partner,ofa partnership,a soleproprietor,or self-employedin a trade,profession,or other activity,
  eitherfull- or paft-time.

            (An individual or joint debtor should complete this portion of the statementonly if the debtor is or has been in
   business,as defined above, within six years immedialely preceding the commencementof this case. A debtor who has not been
  in businesswithin those sfu years should go directly to the signature page.)




           19. Books, records and financial statements

  Noqe     a. List all bookkeepersand accountantswho within two years immediatelyprecedingthe frling of this
  d        bankruptcycasekept or supervisedthe keepingofbooks ofaccount and recordsofthe debtor.

           NAME AND ADDRESS                                                                    DATESSERVICESRENDERED
            MarcChauvette
            2368SecondAvenue
            SanDiego,CA92101
  None     b. List all firms or individuals who within two years immediatelyprecedingthe frling of this bankruptcy
  g        casehaveauditedthe books ofaccount and records,or prepareda financial statementofthe debtor.

           NAME                                         ADDRESS                                DATES SERVICESRENDERED
Case 13-06250-LT11            Filed 06/16/13         Entered 06/16/13 23:45:59               Doc 1      Pg. 34 of 36



87 (OfficialForm7) (04113)

None                                                                of thiscasewerein possession
        c. List all firmsor individualswho at thetimeof thecommencement                       of the
M       booksofaccountandrecordsofthe debtor.Ifany ofthe booksofaccountandrecordsarenot available, explain.

        NAME                                                            ADDRESS




None                                                                                                  to whoma
        d. List all financialinstitutions,creditorsandotherparties,includingmercantileand tradeagencies,
g       financialstatement  wasissuedby thedebtorwithintwo yearsimmediately     preceding  thecommencement of thiscase.

        NAMEANDADDRESS                                                  DATEISSUED




        20. Inventories

None                                                                                                   the
        a. List thedatesofthe lasttwo inventoriestakenofyour property,the nameofthe personwho supervised
V       takingof eachinventory,andthe dollar amountandbasisof eachinventory'

        DATE OF INVENTORY               INVENTORY SUPERVISOR            DOLLAR AMOUNT
                                                                        OF INVENTORY
                                                                        (Specifycost,marketor otherbasis)




Noqe                            ofthe personhavingpossession
        b. List thenameandaddress                                                            reported
                                                          ofthe recordsofeachofthe inventories
d       in a.,above.

        DATE OF I}.IVENTORY                                             NAME AND ADDRESSES
                                                                        OF CUSTODIAN
                                                                        OF INVENTORYRECORDS




        21 . Current Partners,Officers,DirectorsandShareholders

Norye                                     list thenatureandpercentage
            a. Ifthe debtoris a partnership,                                   interestofeachmemberofthe
                                                                   ofpartnership
Ef          partnership.

            NAME AND ADDRESS                 NATUREOF INTEREST           PERCENTAGEOF INTEREST




Non         b. Ifthe debtoris a corporation,list all offrcersanddirectors               andeachstockholder
                                                                        ofthe corporation,                 who
g                                                                                                    ofthe
            directlyor indirectlyowns,controls,or holds5 percentor moreofthe votingor equitysecurities
            corporatron.
                                                                          NATURE AND PERCENTAGE
            NAME AND ADDRESS                            TITLE             OF STOCKOWNERSHIP
Case 13-06250-LT11              Filed 06/16/13              Entered 06/16/13 23:45:59                Doc 1        Pg. 35 of 36



B7 (OfficialForm7) (04113)                                                                                                    10

        22 . Formerpartners,officers,directorsand shareholders

Non_e a. If thedebtoris a partnership,list eachmemberwho withdrewfrom the partnershipwithin oneyear immediately
g     precedingthe commencement  of this case.

        NAME                                         ADDRESS                         DATE OF WITHDRAWAL




None    b. If thedebtoris a corporation,
                                      list all offrcersor directors                                terminated
                                                                                 with thecorporation
                                                                  whoserelationship
d       withinoneyear immediately preceding  thecommencement     of thiscase.

        NAME AND ADDRESS                             TITLE                           DATE OF TERMINATION




        23 . Withdrawalsfrom a partnershipor distributionsby a corporation

None    Ifthe debtoris a partnership            list all withdrawals
                                   or corporation,                                 creditedor givento an insider,
                                                                    or distributions
W       includingcompensation  in anyform,bonuses, loans,stockredemptions,   optionsexercisedandanyotherperquisite
        duringoneyear immediatelyprecedingthe commencement      of this case.

        NAME & ADDRESS                               DATE AND PTIRPOSE               AMOTINTOF MONEY
        OF RECIPIENT,                                OF WITHDRAWAL                   OR DESCRIPTION
        RELATIONSHIPTO DEBTOR                                                        AND VALUE OF PROPERTY




                            Group.
        24. Tax Consolidation

None                                                                                number ofthe parentcorporationofany
        Ifthe debtor is a corporation,list the nameand federaltaxpayer-identification
        consolidatedgroup for tax purposesof which the debtorhas beena memberat any time within six years
        immediately preceding the commencementof the case.

        NAME OF PARENT CORPORATION                          TAXPAYER-IDENTIFICATION           NTIMBER (EIN)




        25. PensionFunds.

None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
        whichthedebtor,asan employer,hasbeenresponsible           g at anytimewithin six yearsimmediately
                                                     for contributin
        precedingthe commencementof the case.

        NAME OF PENSION FTIND                                                     NUMBER(EIN)
                                                            TAXPAYER-IDENTIFICATION




                                                        *   *   *   *   ,   t   *
Case 13-06250-LT11                      Filed 06/16/13               Entered 06/16/13 23:45:59                           Doc 1         Pg. 36 of 36




 87 (OfficialForm7) (04113)
                                                                                                                                                         ll
             pf conpletedby an individualor individualandspouseJ

            I declareunderpenaltyofpequry thatI havereadtheanswers
                                                                 containedin theforegoingstatement
                                                                                                offinancialaffairs
            andanyattachments theretoandthattheyaretrueandconect.


                                                                               Signature
             Date        06t14t2013                                            of Debtor                isl LukeZouvas
                                                                               Signatureof
                                                                               Joint Debtor
             Date        06t14t2013                                             (if any)               isl LeenaZouvas



            ftfcornpletedon behalfofa partnerchipor corporationl

            I declareunder penalty of pcq'ury that I have read the answerscontained in the fotegoing statementof financial affairs and any attachments
            theretoand that they are true and mnect to the bestof my knowledge,informationurd belief.



                                                                               Signature                nla
                                                                               Print Name and
                                                                               I rue


                     [An individualsigningon behalfofa partnership           mustindicatepositionor relationship
                                                                or corporation                                to debtor.]



                                                                 continuationsheetsattached


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                Penaltyformakingulalsestatemenr:                                              lEU.S.C.!$l52and357l



                                                 BANKRUPTCYPETITIONPREPARER(Seell U.S.C$ r10)
                      AND SIGNATUREOF NON-ATTORNEY
            DECLARATTON

           underpenallyof perjurythat:( I ) I ama bankruptcy
   I declare                                              petitionpreparerasdelinedin I I U,S.C.$ I l0; (2) I ptepared  thisdocument  for
 compensationand haveprovided  thedebtorwitha copyofthis document  andthenotices andinformation  requiredunderI I U.S,C.$$ I l0O), I l0O),
 nd342b); and,(l) if rulesor guidelineshavebeenpromulgated  pu$uantto I I U.S.C.$ I l0(h)settinga maximumfeefor soviceschugeable        by
 barkruptcy                I havegiventhedebtornoticeofthenuximumamountbeforepreparing
           petitionprgparers,                                                                 anydocument     for filingfora debtoror accepting
 my fee &om the debtor, as required by thal section-




   nla
  Printed or Typed Name and Titlc, if any, of Banlruptcy Petition Preparcr           Social-SecurityNo. (Requiredby I I U.S.C. $ I10.)

 Ifthe banlauptcypetilion preparer is not an individual, stale the name, title (dany), address,and social-searity nwnber ofthe oficer, pincipal,
 responsibleperson, or parlner u,ho signs this document.




  Address



  SignatureofBanlcuptcy PetitionPreparo                                              Date

 Name.sand Social-securitynumbersofall other individualswho preparedor assistedin preparingthis documentunlessthe bankruptcypetitionprepatr is
 notan individual:

 Ifmore ttan one personpreparedthis document, attach additional signed shees conforming to the appropriate Oflicial Form for eaohpenon

 A bnnkruptcy pelition preparer's feilure to comply with the provisions of title I I and the Federal Rules of Bankruptcy Frocedurc may rcsull
 in ftnes or imprisonment or both. l8 U'S.C. S 156.
